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Deputy’Cierk, U.S. District Court
Middle Districhof George

IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF GEORGIA
VALDOSTA DIVISION

KENNETH JOHNSON and JACQUELYN )
JOHNSON,

KENNETH JOHNSON and JACQUELYN )

JOHNSON, as Personal Representatives of

KENDRICK LAMAR JOHNSON, and )
JACQUELYN JOHNSON, as Administrator
for and on Behalf of The Estate of, )
KENDRICK LAMAR JOHNSON,

Plaintiffs

BRANDEN BELL;
BRIAN BELL; )
RICK BELL, in his individual capacity and
Parent of Gbit Bell and Brian Bell; ) CIVIL ACTION
RYAN HALL;
CHRIS PRINE, in his individual and ) FILE NO.;_7°/6-CV/Y/
official capacity;
FRANK SIMMONS, in his individual and )
official capacity;
WILLIAM “WES” TAYLOR in his individual _)
and official capacities;
JAMES D. THORNTON, in his individual and _) JURY TRIAL DEMANDED
official capacities;
THE LOWNDES COUNTY SCHOOL *
DISTRICT )
FRED WETHERINGTON, indi- *
vidually and in his official capacity as the *
Chairman of Lowndes County Board of Education individual capacities;
JAY FLOYD
RAY MCGRAW, in his official and individual —)
capacities;
JACK WINNINGHAM, in his official and )
individual capacities;
WANDA EDWARDS, in her official and )
individual capacities;
STRYDE JONES, in his official and individual _)
capacities;
AARON PRITCHETT, in his official and )
individual capacities;
LOGAN HENDERSON, in his official and )
individual capacities;
RANDY LIGHTSEY, in his official and )

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individual capacities;

MICHAEL ADAMS, in his official and
individual capacities;

JACK PRIDDY, in his official and individual
capacities;

KERRY QUINN, in his official and individual
capacities;

CHRISTI GRIFFIN, in her official and
individual capacities;

BRYCE WHITENER, in his official and
individual capacities;

CHRISTOPHER BURKE, in his official and
individual capacities;

ROY BLACK in his official and individual
capacities;

HOWARD FISHER, in his official individual
capacities;

MARK MASKULE, in his
official and individual capacities;

ROY HART, in his official and individual
capacities;

JOHN MARION, in his official and individual
capacities;

WES HORNE, in his official and individual
capacities;

AGENT KRISTEN PERRY, in her official
and individual capacities;

LINDSAY MARCHANT, in his official
and individual capacities;

STEVE CALLAHAN, in his
official and individual capacities;

AMY BRASWELL,
in her official and individual capacities;

STEVE TURNER, in his official
and individual capacities;

DR. MARYANNE GAFFNEY-KRAFT,
in her official and individual capacities;

RODNEY BRYAN, in his official and
individual capacities;

)
)

STEVE OWENS d/b/a OWENS TRANSPORT )

SERVICE; LARRY HANSON, in his official
and individual capacities;

CITY OF VALDOSTA, GEORGIA, a
Municipal Corporation;

JOE DOES, an unknown persons; and

JANE DOES, unknown persons,

Defendants.

)
)
)
)

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CIVIL ACTION

FILE NO..:

JURY TRIAL DEMANDED

COMPLAINT FOR DAMAGES
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NOW COME Plaintiffs KENNETH JOHNSON and JACQUELYN JOHNSON, who
now file and recommence their previously filed actions against the above named defendants
within the statute of limitations or within six (6) months following any dismissal that may have

attended the particular action. This case or lawsuit may contain actions which were not
previously filed and therefore this action is not intended to be a recommencement of those or
that action. All court costs associated with any previously filed action reasserted herein have
been paid in full following the submission of a good faith inquiry to the Clerk’s office by the
undersigned, accompanied by the receipt of written confirmation. This action, as previously
filed, is not and was not a void action, nor one in which the previous actions were dismissed on
the merits. This action is based upon substantially the same causes of action as asserted in and
brought by plaintiffs in the Superior Court of Lowndes County, Georgia, Case Numbers 2013
CV 1230, 2014 CV 997, 2014 CV 1592 and 2015 CV 706, and therefore is the result, at least as
to some actions contained herein, of plaintiffs’ voluntary dismissals as set forth and pursuant to

0.C.G.A. §§ 9-11-41 and 9-2-63.

PRELIMINARY STATEMENT
Plaintiffs KENNETH JOHNSON and JACQUELYN JOHNSON are the parents of
KENDRICK LAMAR JOHNSON, who died while attending school on or about January 10,
2013 at Lowndes High School located in Valdosta, Lowndes County, Georgia, bring this action
against Defendants BRANDON BELL, BRIAN BELL, and RYAN HALL, each of whom were
assisted each other, as well as, by certain unknown individuals, hereinafter referred to as JANE

DOE I and JOHN DOE I, for various actions or conduct which led to or directly caused the death
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of KENDRICK LAMAR JOHNSON. Each of the afore-named defendants are liable to Plaintiffs
for the wrongful death of their minor son, KENDRICK LAMAR JOHNSON.

Thereafter, the aforesaid defendants, along with each of the defendants named in the
above styled caption, deliberately and unlawfully conspired to hide and cover up: (a) the
perpetration of an assault and other circumstances upon Kendrick Lamar Johnson on or about
January 10, 2013, (b) their involvement as assailants or persons who assisted in causing said
assault or the death of KENDRICK LAMAR JOHNSON, (c) the identities of persons who
directly or indirectly contributed to or assisted in causing the assault and ultimately the death of
KENDRICK LAMAR JOHNSON, and (d) the involvement of each other as participants in a
conspiracy to unlawfully interfere with an investigation by law enforcement agencies that
purportedly was designed to discover the true circumstances surrounding the death of
KENDRICK LAMAR JOHNSON.

In addition, not only did each of the defendants identified in the above styled action,
maliciously, conspire and engage in a deliberate and corrupt effort to cover up the involvement
of Defendants as assailants and co-conspirators, but the aforesaid conspiracy also deliberately,
maliciously and unlawfully interfered with the rights of Plaintiffs KENNETH JOHNSON and
JACQUELYN JOHNSON to have access to the courts of this state and thereby frustrate their
desire to seek legal redress. Accordingly, each of the defendants named herein are liable to said
plaintiffs for the damages they have suffered due to a civil conspiracy carried out by them and
which sought to interfere with their due process and equal protection rights under the
Constitution for the State of Georgia. Accordingly, Plaintiffs KENNETH JOHNSON and
JACQUELYN JOHNSON seek equitable relief in the form of declaratory judgment and
injunctive relief against all state actors, including but not limited to Defendants DR.

MARYANNE GAFFNEY-KRAFT, and RODNEY BRYAN, as well as all other defendants
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named herein, and who are sued in their individual capacity, as well as, official capacity as
members of the Georgia Bureau of Investigation.

In the course of interfering with the rights of Plaintiffs KENNETH JOHNSON and
JACQUELYN JOHNSON to have access to the courts and thus frustrate their desire to seek
legal redress, each of the defendants have caused said plaintiffs to suffer great physical and
emotional pain and, as a consequence, are liable for intentional infliction of emotional distress,
as well as, other state law violations.

Plaintiffs now bring this action under 42 U.S.C. §§1983 and 1985 to seek redress for the
aforesaid violations of rights of KENDRICK LAMAR JOHNSON (sometimes referred to herein
as “plaintiffs’ decedent”) and the significant damages he suffered. Each of the plaintiffs herein
sues the Defendants LOWNDES COUNTY SCHOOL DISTRICT, FRED WETHERINGTON,
WES TAYLOR, and JAY FLOYD pursuant to O.C.G.A. §51-4-5 to recover funeral expenses, as

well as, compensation for the pain and suffering experienced by KENDRICK LAMAR

JURISDICTION AND VENUE

1. This action is for and on behalf of the parents of Plaintiffs KENNETH JOHNSON and
JACQUELYN JOHNSON for the wrongful death of their minor son and decedent, Kendrick
Lamar Johnson, who died on or about January 10, 2013. Each of the plaintiffs herein sues the
defendants, in their various capacities as specified in the above styled caption. Accordingly, this
Court has jurisdiction over the subject matter of this Complaint under 42 U.S.C. §§1983 and 28
U.S.C. §§1331, 1343(a)(3), and 1343(a)(4). Supplemental jurisdiction is also properly invoked
pursuant to 42 U.S.C. § 1367(a) and as permitted by State law.

2. Venue is properly invoked insofar as one or more of the defendants are residents of

Lowndes County, Georgia and live within the Valdosta Division of the Middle District of
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Georgia. Moreover, many if not all of the alleged activities leading to the Plaintiffs’ injuries
arose within the Valdosta Division of the Middle District of Georgia. As such, the foregoing

circumstances provide a statutory basis for asserting that venue lies in this Court.

PARTIES

3. Plaintiffs KENNETH JOHNSON and JACQUELYN JOHNSON appear herein as
individuals who are entitled to bring this action for the wrongful death because they are the
parents of Kendrick Lamar Johnson, who was a minor at the time of his death and who left no
surviving spouse or children of his own.

In addition, Plaintiffs KENNETH JOHNSON and JACQUELYN JOHNSON, appear
herein as the personal representatives of their minor son, KENDRICK LAMAR JOHNSON,
with Plaintiff JACQUELYN JOHNSON, serving as temporary Administrator for and on behalf
of the Estate of KENDRICK LAMAR JOHNSON. As a result, Plaintiffs also bring this action
against the Defendants in their representative capacity and sue the Defendants LOWNDES
COUNTY SCHOOL DISTRICT, WES TAYLOR, and JAY FLOYD pursuant to O.C.G.A. §51-
4-5 to recover funeral expenses, as well as, compensation for the pain and suffering experienced
by KENDRICK LAMAR JOHNSON from his injuries, all of which was accompanied by his
death on or about January 10, 2013.

4. At all times material to this Complaint, Defendant RICK BELL is an Agent of the
Federal Bureau of Investigation (“FBI”) and who is being sued in his individual capacity.
Defendant RICK BELL may be served with service of process at his residence in Lowndes
County, Georgia or at the office of the FBI, located at 6061 Gate Pkwy N, Jacksonville, Florida

32256.
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5. At all times material to this Complaint, Defendant BRANDON BELL was the oldest
son of Defendant RICK BELL, an Agent with the FBI and who is being sued in his individual
capacity and as a child of Defendant RICK BELL. Defendant BRANDON BELL may be served
with service of process at his residence on the campus of Valdosta State University, located in
Valdosta, Lowndes County, Georgia.

6. At all times material to this Complaint, Defendant BRIAN BELL was the youngest son
of Defendant RICK BELL, an Agent with the FBI and who is being sued in his individual
capacity and as a child of Defendant RICK BELL. Defendant BRIAN BELL may be served
with service of process at the residence of his parents, Defendant RICK BELL and Karen Bell,
which is located in the city of Point Verde Beach, St. Johns County, Florida.

7. At all times material to this Complaint, Defendant RYAN HALL may be served with

service of process at 827 Ione Church Road, Pavo, Georgia.

8. At all times material to this Complaint, Defendant WILLIAM WESLEY “WES”
TAYLOR was the Superintendent of the LOWNDES COUNTY SCHOOL DISTRICT and who
is being sued in his individual capacity, as well as, his official capacity. Service of process may
also be accomplished by serving Defendant WILLIAM WESLEY “WES” TAYLOR at 1592
Norman Drive, Valdosta, Georgia.

9. At all times material to this Complaint, Defendant CHRIS PRINE was the Sheriff of
Lowndes County, Georgia and who is being sued in his individual and official capacities.
Defendant CHRIS PRINE may be served with service of process at 120 Prison Farm Road,

Valdosta, Georgia.

10. At all times material to this Complaint, Defendant CITY OF VALDOSTA is a

municipal corporation located in Lowndes County, Georgia. This Defendant may be served with
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service of process by serving it upon its city manager, Larry H. Hanson, at 216 E. Central

Avenue, Valdosta, Georgia.

11. At all times material to this Complaint, Defendant LARRY H. HANSON was the
city manager for the city of Valdosta, Georgia. This Defendant is being sued in his individual
and official capacity. He may be served with service of process by serving it upon him at 216 E.
Central Avenue, Valdosta, Georgia.

12. At all times material to this Complaint, Defendant FRANK SIMMONS was the Chief
of Police of the Valdosta Police Department and who is being sued in his individual, as well as, in
his official capacity. Defendant FRANK SIMMONS may be served with service of process at 500
North Toombs Street, Valdosta, Georgia.

13. At all times material to this Complaint, Defendant STRYDE JONES was a Lieutenant
of the Lowndes County Sheriff Office and who is being sued in his individual, as well as, in his
official capacity. Defendant STRYDE JONES may be served with service of process at 120
Prison-Farm Road, Valdosta, Georgia.

14. At all times material to this Complaint, Defendant STEVE OWENS was the owner of
Steve Owens Transport Service and who is being sued. Defendant STEVE OWENS may be
served with service of process at 4659 Wheeler Road, Quitman, Georgia.

15. At all times material to this Complaint, Defendant JAMES D. THORNTON was a
Criminalist of the Valdosta-Lowndes Regional Crime Laboratory and who is being sued in his
individual, as well as, in his official capacity. Defendant JAMES D. THORNTON may be served
with service of process at 1708 North Ashley Street, Valdosta, Georgia.

16. At all times material to this Complaint, Defendant WES HORNE was a Crime Scene
Specialist of the Georgia Bureau of Investigation and who is being sued in his individual, as well
as, in his official capacity. Defendant WES HORNE may be served with service of process at the

headquarters of the GBI, located at 3121 Panthersville Road, Decatur, Georgia.
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17. At all times material to this Complaint, Defendant JACK WINNINGHAM was a Staff
Sergeant/Investigator of the Lowndes County Sheriff Office and who is being sued in his
individual, as well as, in his official capacity. Defendant JACK WINNINGHAM may be served
with service of process at 120 Prison-Farm Road, Valdosta, Georgia.

18. At all times material to this Complaint, Defendant DR. MARYANNE GAFFNEY-
KRAFT was the Medical Examiner of the Georgia Bureau of Investigation and who is being sued
in her individual, as well as, in his official capacity. Defendant DR. MARYANNE GAFFNEY-
KRAFT_may be served with service of process at the headquarters of the GBI, located at 3121
Panthersville Road, Decatur, Georgia.

19. At all times material to this Complaint, Defendant STEVE TURNER was the Special
Agent in Charge of the Region 9 Office of the Georgia Bureau of Investigation and who is being
sued in his individual, as well as, in his official capacity. Defendant STEVE TURNER may be
served with service of process at the headquarters of the GBI, located at 3121 Panthersville Road,
Decatur, Georgia.

20. At all times material to this Complaint, Defendant KRISTEN PERRY was an Agent of
the Georgia Bureau of Investigation and who is being sued in his individual, as well as, in her
official capacity. Defendant KRISTEN PERRY may be served with service of process at the
headquarters of the GBI, located at 3121 Panthersville Road, Decatur, Georgia.

21. At all times material to this Complaint, Defendant LINDSAY MERCHANT was an
Agent of the Georgia Bureau of Investigation and who is being sued in his individual, as well as,
in his official capacity. Defendant LINDSAY MERCHANT may be served with service of

process at the headquarters of the GBI, located at 3121 Panthersville Road, Decatur, Georgia.
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22. At all times material to this Complaint, Defendant MIKE CALLAHAN was an Agent
of the Georgia Bureau of Investigation and who is being sued in his individual, as well as, in his
official capacity. Defendant MIKE CALLAHAN may be served with service of process at the
headquarters of the GBI, located at 3121 Panthersville Road, Decatur, Georgia.

23. At all times material to this Complaint, Defendant AMY BRASWELL was an Agent
of the Georgia Bureau of Investigation and who is being sued in his individual, as well as, in her
official capacity. Defendant AMY BRASWELL may be served with service of process at the
headquarters of the GBI, located at 3121 Panthersville Road, Decatur, Georgia.

24. At all times material to this Complaint, Defendant AARON PRITCHETT was a
Sergeant of the Lowndes County Sheriff Office and who is being sued in his individual, as well
as, in his official capacity. Defendant AARON PRITCHETT may be served with service of
process at 120 Prison-Farm Road, Valdosta, Georgia.

25. a At all times material to this Complaint, Defendant LOWNDES COUNTY SCHOOL
DISTRICT was a corporation or entity organized and existing under the laws of the State of
Georgia charged with the duty of facilitating the educational development of minors who are
residents within Lowndes County, Georgia.

b. At all times material to this Complaint, Lowndes High School was an agency and
facility organized and existing under the authority of the Defendant LOWNDES COUNTY
SCHOOL DISTRICT. Service of process may be accomplished upon Defendant LOWNDES
COUNTY SCHOOL DISTRICT by serving FRED WETHERINGTON at 5781Coppage Road,

Hahira, Georgia.
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c. At all times material to this Complaint, Defendant FRED WETHERINGTON was
the Chairman of Defendant LOWNDES COUNTY SCHOOL DISTRICT and is being sued in his
official and individual capacity. Service of process may also be accomplished by serving
Defendant FRED WETHERINGTON at 5781Coppage Road, Hahira, Georgia.

d. At all times material to this Complaint, Defendant LOWNDES COUNTY SCHOOL
DISTRICT acted through its agents, employees, teachers, administrators, staff and
representatives, including but not limited to Defendants FRED WETHERINGTON, WES
TAYLOR and JAY FLOYD, each of whom were acting under color of state statutes, ordinances,
regulations, customs and usages of the State of Georgia and, in their actions and appearances,
pursuant to the scope of their authority.

26. At all times material to this Complaint, Defendant RAY MCGRAW was a Crime
Scene Specialist with the Valdosta-Lowndes Regional Crime Laboratory and who is being sued in
his individual, as well as, in his official capacity. Defendant RAY MCGRAW may be served with
service of process at 1708 North Ashley Street, Valdosta, Georgia.

27. At all times material to this Complaint, Defendant WANDA EDWARDS was a
Captain of the Lowndes County Sheriff Office and who is being sued in his individual, as well as,
in her official capacity. Defendant WANDA EDWARDS may be served with service of process
at 120 Prison-Farm Road, Valdosta, Georgia.

28. At all times material to this Complaint, Defendant LOGAN HENDERSON was a
Major of the Lowndes County Sheriff Office and who is being sued in his individual, as well as,
in his official capacity. Defendant LOGAN HENDERSON may be served with service of process

at 120 Prison-Farm Road, Valdosta, Georgia.
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29. At all times material to this Complaint, Defendant RANDY LIGHTSEY was a Deputy
of the Lowndes County Sheriff Office and who is being sued in his individual, as well as, in his
official capacity. Defendant RANDY LIGHTSEY may be served with service of process at 120
Prison-Farm Road, Valdosta, Georgia.

30. At all times material to this Complaint, Defendant MICHAEL ADAMS was a Deputy
of the Lowndes County Sheriff Office and who is being sued in his individual, as well as, in his
official capacity. Defendant MICHAEL ADAMS may be served with service of process at 120
Prison-Farm Road, Valdosta, Georgia.

31. At all times material to this Complaint, Defendant JOHN MARION was a Deputy of
the Lowndes County Sheriff Office and who is being sued in his individual, as well as, in his
official capacity. Defendant JOHN MARION may be served with service of process at 120
Prison-Farm Road, Valdosta, Georgia.

32. At all times material to this Complaint, Defendant JACK PRIDDY was a Deputy of
the Lowndes County Sheriff Office and who is being sued in his individual, as well as, in his
official capacity. Defendant JACK PRIDDY may be served with service of process at 120 Prison-
Farm Road, Valdosta, Georgia.

33. At all times material to this Complaint, Defendant KERRY QUINN was a Deputy of
the Lowndes County Sheriff Office and who is being sued in his individual, as well as, in his
official capacity. Defendant KERRY QUINN may be served with service of process at 120
Prison-Farm Road, Valdosta, Georgia.

34, At all times material to this Complaint, Defendant CHRISTI GRIFFIN was a Deputy

of the Lowndes County Sheriff Office and who is being sued in her individual, as well as, in his
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official capacity. Defendant CHRISTI GRIFFIN may be served with service of process at 120
Prison-Farm Road, Valdosta, Georgia.

35. At all times material to this Complaint, Defendant BRYCE WHITENER was a Deputy
of the Lowndes County Sheriff Office and who is being sued in his individual, as well as, in his
official capacity. Defendant BRYCE WHITENER may be served with service of process at 120
Prison-Farm Road, Valdosta, Georgia.

36. At all times material to this Complaint, Defendant CHRISTOPHER BURKE was a
Deputy of the Lowndes County Sheriff Office and who is being sued in his individual, as well as,
in his official capacity. Defendant CHRISTOPHER BURKE may be served with service of
process at 120 Prison-Farm Road, Valdosta, Georgia.

37. At all times material to this Complaint, Defendant TROY BLACK was a Detective of
the Lowndes County Sheriff Office and who is being sued in his individual, as well as, in his
official capacity. Defendant TROY BLACK may be served with service of process at 120 Prison-
Farm Road, Valdosta, Georgia.

38. At all times material to this Complaint, Defendant HOWARD FISHER was a
Detective of the Lowndes County Sheriff Office and who is being sued in his individual, as well
as, in his official capacity. Defendant HOWARD FISHER may be served with service of process
at 120 Prison-Farm Road, Valdosta, Georgia.

39. At all times material to this Complaint, Defendant MARK MASKULE was a
Detective of the Lowndes County Sheriff Office and who is being sued in his individual, as well
as, in his official capacity. Defendant MARK MASKULE may be served with service of process
at 120 Prison-Farm Road, Valdosta, Georgia.

40. At all times material to this Complaint, Defendant ROY HART was a Detective of

the Lowndes County Sheriff Office and who is being sued in his individual, as well as, in his
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official capacity. Defendant ROY HART may be served with service of process at 120 Prison-
Farm Road, Valdosta, Georgia.

41. At all times material to this Complaint, Defendant RODNEY BRYAN was a death
investigator with the Georgia Bureau of Investigation and who is being sued in his individual, as
well as, in his official capacity. Defendant RODNEY BRYAN may be served with service of

process at the headquarters of the GBI., located at 3121 Panthersville Road, Decatur, Georgia.

FACTS COMMON TO ALL CLAIMS

42. On January 10, 2013, KENDRICK LAMAR JOHNSON (hereinafter sometimes
referred to as “plaintiffs’ decedent” or “plaintiffs’ son” or “plaintiffs’ child”), an African-
American student, was attending Lowndes High School in Valdosta, Lowndes County, Georgia.

43. At some point during the afternoon of January 10, 2013, plaintiffs decedent failed to
attend the balance of his scheduled classes.

44. Upon information and belief, plaintiff's decedent entered an area upon the Lowndes
High School campus where, after being induced by a fellow female student, Defendant JANE
DOE1, to go to said location, he was encountered by defendant BRANDON BELL and
defendant BRIAN BELL, both of whom were fellow male students at said high school.

45. Upon information and belief, when plaintiff's decedent arrived at the aforementioned
location, he was violently assaulted by persons, including but not limited to defendants
BRANDON BELL, BRIAN BELL, and RYAN HALL, in the course thereof, suffered a fatal
injury which led to his death.

46. Upon information and belief, following the aforesaid assault upon plaintiffs’
decedent, defendants BRANDON BELL, BRIAN BELL, RYAN HALL, JANE DOE] and

certain individuals who are currently unknown to plaintiffs, but who is identified as JOHN DOE
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1, not only failed to render aid to plaintiffs’ decedent or notify school authorities of his
condition, but instead, sought to hide the body of plaintiff’s decedent.

47. Upon information and belief, following the aforesaid assault upon plaintiffs’
decedent, defendants BRANDON BELL, BRIAN BELL, RYAN HALL, JANE DOE1 and
JOHN DOE] notified defendant Lowndes County School Superintendent WILLIAM “WES”
TAYLOR, defendant RICK BELL, a Federal Bureau of Investigation (“FBI”) Special Agent and
father of defendants BRANDON BELL and BRIAN BELL, and defendant CHRIS PRINE, the
Sheriff of Lowndes County, Georgia, of the circumstances surrounding the assault of plaintiffs’
decedent, as well as, the location of his body.

48. Upon information and belief, Defendant RICK BELL, Defendant WILLIAM “WES”
TAYLOR and Sheriff Chris Prine discussed amongst themselves the circumstances surrounding
the assault of plaintiffs’ decedent and entered into an agreement and plan to illegally cover up
the true cause of death to plaintiffs’ decedent, as well as, if not more importantly, the
involvement of defendants BRANDON BELL, BRIAN BELL, RYAN HALL, JANE DOE] and
JOHN DOE] in causing the fatal injuries suffered by plaintiffs’ decedent.

49. Upon information and belief, the aforesaid agreement by Defendant RICK BELL,
Defendant WILLIAM “WES” TAYLOR and Sheriff Chris Prine to hide and cover up the
involvement of defendants BRANDON BELL, BRIAN BELL, RYAN HALL, JANE DOE1 and
JOHN DOE}, as well as, the true cause of plaintiffs’ decedent’s death, amounted to an illegal
conspiracy to obstruct justice, to interfere with Plaintiffs KENNETH JOHNSON and
JACQUELYN JOHNSON’s access to the courts, and to deny them their rights to due process

and equal protection of the laws as set forth by the Constitution of the State of Georgia.
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50. Upon information and belief, Defendant RICK BELL, Defendant WILLIAM “WES”
TAYLOR and Sheriff Chris Prine engaged in conduct which was designed to carry out said conspiracy.

51. Upon information and belief, the conduct engaged in by Defendant RICK BELL,
Defendant WILLIAM “WES” TAYLOR and Sheriff Chris Prine consisted of gaining access to
the old gymnasium located at Lowndes High School and placing the body of plaintiffs’ decedent
upside down inside a rolled up gym mat and placing same in a corner of the aforesaid
gymnasium with the idea that the body of plaintiffs’ decedent would be discovered following the
beginning of classes on January 11, 2013.

52. Upon information and belief, and in furtherance of said conspiracy, Sheriff Chris
Prine solicited and engaged the involvement of subordinates and members of the Lowndes
County Sheriff's Department for purposes of controlling the old gym and areas which were
proximal to it. The purpose behind controlling these areas was to ensure the appearance that
plaintiffs’ decedent had died as a result of an unfortunate accident.

53. Those subordinates and members of the Lowndes County Sheriff's Department who
were notified of the plan and conspiracy to disguise the true cause of Kendrick Johnson’s death,
as well as, the involvement of those responsible for causing same, included, but is not limited to
Defendants JAMES THORNTON, SHANNON SALTERS, RAY MCGRAW, JACK
WINNINGHAM, WANDA EDWARDS, STRYDE JONES, AARON PRITCHETT, LOGAN
HENDERSON, RANDY LIGHTSEY, MICHAEL ADAMS, JACK PRIDDY, KERRY QUINN,
CHRISTI GRIFFIN, BRYCE WHITENER, CHRISTOPHER BURKE, TROY BLACK,

HOWARD FISHER, MARK MASKULE, ROY HART, and JOHN MARION.
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54. Upon information and belief, said conspiracy also involved the purported discovery
of the body of plaintiffs’ decedent by Lori Taylor and Liana Taylor, both of whom are the
daughters of Defendant WILLIAM “WES” TAYLOR and students at Lowndes High School.

55. On the morning of January 11, 2013, Plaintiff JACQUELYN JOHNSON came to
said high school to inquire as to the whereabouts of plaintiffs’ decedent inasmuch as he had
failed to return home from said high school the evening before.

56. Upon information and belief, Lori Taylor and Laina Taylor, who were in the old gym
and near the aforesaid gym mat containing Kendrick Johnson’s body, alerted school officials as
to the presence of the body in the said rolled-up gym mat while it was still in the said rolled-up
gym mat.

57. Shortly thereafter, and while waiting in the administrative offices of said high school,
Plaintiff JACQUELYN JOHNSON was advised that the dead body of her son had been located
in the old gym.

58. In the several hours which followed various members of other law enforcement
agencies appeared at said high school for the alleged purpose of investigating the death of
plaintiff's decedent.

59. Of the various law enforcement agencies which arrived at the aforesaid high school
shortly following the discovery of the body of plaintiffs’ decedent, there were representatives of
each of the law enforcement agencies from within Lowndes County, Georgia,
including, but not limited to, the Lowndes County Sheriffs Department, the City of Valdosta
Police Department, the Valdosta-Lowndes, Regional Crime Laboratory (“VLRCL”) and the

Georgia Bureau of Investigation (“GBI”).
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60. In addition to the aforesaid law-enforcement agencies, one of the first responders to
arrive at the aforesaid high school included two (2) emergency medical technicians (“EMT”)
who examined the body plaintiffs’ decedent while it was still in the aforesaid old gym.

61. Of the various observations which were made by said EMTs, they noted that there
was a bruise to the right side of the jaw of plaintiffs’ decedent. In preparing their report
regarding their observations of the body of plaintiffs’ decedent, said EMTs characterized the
location of said body as a “crime scene.”

62. Notwithstanding the aforesaid observations of said EMTs, who upon information and
belief were the first and only medical experts to examine the body of plaintiffs’ decedent while it
was still in the aforesaid old gym, defendant law enforcement officers JAMES THORNTON,
SHANNON SALTERS, RAY MCGRAW, JACK WINNINGHAM, WANDA EDWARDS,
STRYDE JONES, AARON PRITCHETT, LOGAN HENDERSON, RANDY LIGHTSEY,
MICHAEL ADAMS, JACK PRIDDY, KERRY QUINN, CHRISTI GRIFFIN, BRYCE
WHITENER, CHRISTOPHER BURKE, TROY BLACK, HOWARD FISHER, MARK
MASKULE, ROY HART, and JOHN MARION (hereinafter sometimes referred to as
“Defendant Lowndes County Deputies”) furthered the aforesaid conspiracy by failing to follow
appropriate investigative procedures to ensure against the contamination of the area surrounding
where the body of plaintiffs’ decedent was allegedly discovered or located.

63. Upon information and belief, members of the Georgia Bureau of Investigation,
including but not limited to Defendants STEVE TURNER, RODNEY BRYAN, AMY
BRASWELL, MIKE CALLAHAN, LINDSAY MARCHANT, KRISTEN PERRY, and WES

HORNE (hereinafter sometimes referred to as “Defendant GBI Agents”) became aware of the
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aforesaid conspiracy and also joined the aforesaid conspiracy by failing to follow appropriate
investigative procedures to ensure against the contamination of the area surrounding where the
body of plaintiffs’ decedent was allegedly discovered or located.

64. Upon information and belief, City of Valdosta Police Chief Defendant FRANK
SIMMONS also became aware of the aforesaid conspiracy and joined the aforesaid conspiracy
by failing to follow appropriate investigative procedures to ensure against the contamination of
the area surrounding where the body of plaintiffs’ decedent was allegedly discovered or located.

65. After Plaintiff JACQUELYN JOHNSON was notified that the body that had been
located in the gymnasium was believed to be her son, she along with other family members who
arrived at the aforesaid high school, requested but were refused permission by afore-named
Defendant GBI Agents, the afore-named Defendant Lowndes County Deputies, Defendant
Frank Simmons, and Sheriff Chris Prine to identify the body of her son; all that is a part of and
in furtherance of the aforesaid conspiracy.

66. Notwithstanding the discovery of a dead body and the presence of defendant law-
enforcement officials, said defendants knowingly and with malicious intent failed to notify the
Lowndes County Coroner for approximately six (6) hours following the alleged discovery of the
body of plaintiffs’ decedent.

67. The aforesaid failure of the defendant law-enforcement officials to immediately
notify the Lowndes County Coroner was in deliberate violation of the laws of the state of
Georgia, more specifically identified as O.C.G.A § 45-16-24, which states, in relevant part, that
“Gt shall be the duty of any law enforcement officer or other person having knowledge of such

death to notify immediately the corner or county medical examiner of the county in which the
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acts or events resulting in the death occurred or the body is found.” The afore-named Defendant
GBI Agents, the afore-named Defendant Lowndes County Deputies, Defendant FRANK
SIMMONS, and defendant CHRIS PRINE deliberately failed to notify the County Coroner for
Lowndes County in furtherance of the aforesaid conspiracy.

68. Notwithstanding the discovery of a dead body, the aforesaid observations of said
EMTs, as well as, the location of blood of an unidentified source that was observed upon the
surfaces of walls that were proximal to the location of the body of plaintiffs’ decedent, defendant
CHRIS PRINE, expressed to the news media on January 11, 2013 that there was no evidence of
“foul play” and that the cause of death was accidental based upon a theory that plaintiff's
decedent died as a result of him attempting to retrieve a tennis shoe by entering into the center
opening of the aforesaid rolled-up gym mat and thereafter becoming stuck and without the
ability to free himself. The afore-named Defendant GBI Agents, the afore-named Defendant
Lowndes County Deputies, and Defendant FRANK SIMMONS, were aware of the
announcements made by defendant CHRIS PRINE and the falsity of same, and in furtherance of
the conspiracy, deliberately failed to correct the reports made by defendant CHRIS PRINE or to
notify the appropriate governmental entities or other law enforcement personnel of the falsity of
the aforesaid reports made by defendant CHRIS PRINE , as well as, the conspiracy itself.

69. On or about January 12, 2013, Plaintiff KENNETH JOHNSON requested permission
to view the body of plaintiffs’ decedent, but in furtherance of the aforesaid conspiracy, was also
refused permission by afore-named Defendant GBI Agents, the afore-named Defendant

Lowndes County Deputies, Defendant Frank Simmons, and defendant CHRIS PRINE.
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70. Following the aforementioned denial of permission by defendants to allow plaintiffs
JACQUELYN JOHNSON and KENNETH JOHNSON to view and identify the body of their
deceased son, plaintiffs contacted the news media and conducted a press conference to voice
their concerns regarding the kind of treatment that they were receiving from said defendant
members of the law enforcement community, more particularly defendant CHRIS PRINE ,
Defendant STRYDE JONES with the Lowndes County Sheriffs Department, and Defendant
JAMES THORNTON of the Valdosta-Lowndes, Regional Crime Laboratory.

71. Upon information and belief, defendant CHRIS PRINE, Defendant STRYDE JONES
the afore-named Defendant GBI Agents, the afore-named Defendant Lowndes County Deputies,
and Defendant FRANK SIMMONS, reconsidered their position regarding the Plaintiffs’ request
to view the body of their son and, as a consequence, granted them permission to come to the
Valdosta-Lowndes, Regional Crime Laboratory for purposes of viewing the body.

72. On January 13, 2013, plaintiffs JACQUELYN JOHNSON and KENNETH
JOHNSON went to the Valdosta-Lowndes, Regional Crime Laboratory where they were met by
Sheriff Chris Prine, Defendant STRYDE JONES and Defendant JAMES THORNTON for
purposes of viewing the body of plaintiffs’ decedent. On that occasion, plaintiff KENNETH
JOHNSON entered the room where the body of plaintiffs’ decedent was being stored and where
he noted that the room temperature appeared to be much warmer than what he had anticipated
inasmuch as he thought that said room and the vault that the decedent’s body was being stored in
was designed to preserve the remains through a process similar akin to refrigeration. Upon
information and belief, each aforementioned defendant, including but not limited to Sheriff Chris

Prine, Defendant STRYDE JONES and Defendant JAMES THORNTON, was aware of the
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effort to advance the decomposition of Kendrick Johnson’s remains as a part of the aforesaid
conspiracy, and yet failed to take any action to prevent the destruction or elimination of the
evidence that would otherwise be preserved through appropriate handling of said remains.

73. At that time, Sheriff Chris Prine explained to Plaintiffs JACQUELYN JOHNSON
and KENNETH JOHNSON that plaintiff's decedent had entered the center hole of the
aforementioned gym mat “feet first” and that while at the bottom of the hole, plaintiffs’ decedent
bent over to retrieve his tennis shoe and became stuck in such a way that he could not free or
remove himself from the hole.

74. Upon hearing the foregoing explanation, Plaintiff KENNETH JOHNSON stated to
Sheriff Chris Prine that his explanation was not possible, whereupon Defendant STR YDE
JONES stated to Plaintiff KENNETH JOHNSON that he (KENNETH JOHNSON) did not
understand that “when you die, your muscles relax and then you fall forward.” The aforesaid
explanation offered by Sheriff Chris Prine and Defendant STRYDE JONES was communicated
to plaintiffs in furtherance of the aforesaid conspiracy.

75. Approximately two (2) or more days later, an ex-employee of the Lowndes County
Sheriff's Department contacted plaintiff KENNETH JOHNSON and stated to him that he
(KENNETH JOHNSON) misunderstood what Sheriff Chris Prine and defendant STR YDE
JONES had attempted to explain to plaintiffs and that their explanation was meant to explain that
plaintiff's decedent had entered the center hole of the gym mat head first instead of feet first.

76. Due to the aforesaid findings of “no foul play” and a theory offered by Sheriff Chris
Prine, Plaintiffs KENNETH JOHNSON and JACQUELYN JOHNSON were desirous of having

a further investigation into the cause and circumstances of their son’s death.
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77. Concurrent therewith, Plaintiffs contacted Harrington’s Funeral Home and Antonio
Harrington for purposes of properly handling the remains of plaintiff's decedent, as well as,
making the arrangements for the funeral services and internment of his remains.

78. On or about January 14, 2013, the remains of Plaintiffs’ minor child were transported
by Defendant STEPHEN WESLEY OWENS of Defendant OWEN’S TRANSPORT SERVICE
from the Valdosta~-Lowndes, Regional Crime Laboratory to the GBI’s Crime Lab located in
Macon, Georgia for purposes of undergoing an official autopsy. Upon completion of said
autopsy, Defendant STEPHEN WESLEY OWENS transported the remains of plaintiff's
decedent back to Valdosta during the early afternoon hours of January 14, 2013, delivered said
remains of Plaintiffs’ decedent to Harrington’s Funeral Home, all of which was pursuant to an
understanding and oral agreement entered into between Plaintiffs and Defendants.

79. Antonio Harrington expressed to Plaintiffs KENNETH JOHNSON and
JACQUELYN JOHNSON his concerns as to the aforesaid explanation for their child’s death and
recommended that they should get a “second opinion” as to the cause of death notwithstanding
the then-unknown-findings of official autopsy. Plaintiffs concurred with Antonio Harrington’s
recommendation.

80. On or about January 16, 2013, an occasion on which Plaintiffs KENNETH
JOHNSON and JACQUELYN JOHNSON visited The Harrington’s Funeral Home, said
plaintiffs inquired of Antonio Harrington whether they could collect the clothing that plaintiff's
decedent was wearing at the time that is body was discovered Lowndes High School. Responsive
to said request, Antonio Harrington advised Plaintiffs that he was unaware that their child had

any clothes when his remains were returned from the aforesaid GBI Crime Lab.
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81. In addition to the aforesaid inquiry about their minor child’s clothing, Plaintiffs
never authorized Antonio Harrington nor his staff to destroy or dispose of any of the plaintiffs’
decedent’s body parts, including but not limited to his internal organs.

82. In the course of attempting to ascertain the whereabouts of plaintiffs’ decedent’s
clothing, Plaintiffs contacted the GBI Crime Lab in Macon, Georgia based upon Antonio
Harrington’s representations to them that the subject clothing was not returned with the remains
of plaintiffs’ decedent.

83. Upon making contact with employees at the aforesaid GBI Crime Lab, Plaintiffs
JACQUELYN JOHNSON and KENNETH JOHNSON were advised that all personal effects,
including but not limited to plaintiff's decedent’s clothing, was placed in a body bag and
returned to Valdosta, Georgia with the aforesaid remains.

84. In addition to making contact with the aforesaid GBI Crime Lab for purposes of
locating the said clothing which was worn by their son, plaintiffs JACQUELYN JOHNSON and
KENNETH JOHNSON inquired as to the length of time that it would take the GBI Crime Lab to
complete the autopsy report. Upon information and belief, the aforesaid clothing disappeared
while in the possession of Defendant STEPHEN WESLEY OWENS and as such, said defendant
disposed of said clothing as a part of the aforesaid conspiracy to hide or cover up the true
circumstances surrounding Kendrick Johnson’s death.

85. After several months of repeatedly calling the GBI Crime Lab to establish the status
of the autopsy report, on or about May 2, 2013 the autopsy report which had been authored and
prepared Defendant MARYANNE GAFFNEY-KRAFT was released to the Defendant Lowndes

County Sheriff's Department and ultimately, to Plaintiffs JACQUELYN JOHNSON and
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KENNETH JOHNSON. This autopsy report concluded that the cause of death of Plaintiffs’
decedent was positional asphyxia and the manner of death was concluded to be accidental.

86. Upon information and belief, the autopsy report which had been authored and
prepared Defendant MARYANNE GAFFNEY-KRAFT and who was aided by Defendant
RODNEY BRYAN, was false and misleading, and, as such, a part of the aforesaid conspiracy to
hide or cover up the true circumstances surrounding Kendrick Johnson’s death.

87. Inasmuch as Plaintiffs JACQUELYN JOHNSON and KENNETH JOHNSON were
in receipt of conflicting evidence and reports, as well as, being beleaguered by many unanswered
questions, Plaintiffs made arrangements to have the remains of their son’s remains exhumed for
purposes of conducting a second and independent autopsy.

88. Yet, in spite of the absence of any ordinance, regulation, or state law requiring that
the next of kin obtain a court order before they would be allowed to remove the remains of their
loved one, in this instance, the city manager the Defendants LARRY HANSEN and the CITY
OF VALDOSTA required that the Plaintiffs JACQUELYN JOHNSON and KENNETH
JOHNSON petition the Superior Court of Lowndes County for a court order before allowing
them to exhume the remains of the plaintiffs’ decedent. Upon information and belief, the
aforesaid actions on the part of Defendants LARRY HANSEN and the CITY OF VALDOSTA
were a part of the aforesaid conspiracy to interfere with Plaintiffs access to the courts for
purposes of seeking the truth of what occurred to their son and, legal redress for any and all
damages which they may have suffered.

89. On or about June 14, 2013, Plaintiffs’ minor child was disinterred, and thereafter, the

remains of plaintiff's decedent were transported to Orlando, Florida on June 15, 2013 for
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purposes of undergoing a second and independent autopsy by Dr. William R. Anderson, a
licensed forensic pathologist in Orlando, Florida.

90. On or about June 15, 2013, as Dr. Anderson began to examine the inside of said
minor child’s abdomen, he devised that all of the internal organs were missing and that said
decedent’s body was stuffed with waded newspaper.

91. In addition, Dr. Anderson observed that the brain of Plaintiffs’ decedent was also
missing. Upon information and belief, the autopsy by Dr. Anderson was made more complicated
and thus deprived him of the ability to conduct the type of autopsy that was otherwise
contemplated and more informative in nature.

92. Notwithstanding the foregoing circumstances, Dr. Anderson established that
Plaintiffs’ decedent had suffered an injury to the right side of his upper neck, and that the cause
of death was blunt force trauma, an injury that was consistent with one that had been “inflicted”
upon plaintiffs’ decedent and “non-accidental” in nature.

93. Inasmuch as the right side of plaintiffs’ decedent’s upper neck had not been sectioned
by Defendant MARYANNE GAFFNEY-KRAFT, the forensic pathologist who performed the
official autopsy for the GBI, Dr. Anderson reached out to said defendant or her office to
establish whether or not she wanted to examine his findings, including the tissue samples which
were taken from plaintiffs decedent during his autopsy of June 15, 2013.

94. Upon information and belief, Defendant MARYANNE GAFFNEY-KRAFT nor
anyone from her agency ever accepted Dr. Anderson’s aforesaid invitation to examine his tissue
specimens and thus establish whether or not said defendant had missed a critical piece of

evidence in reaching her opinion as to whether the cause of death was altogether accidental or
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possessed features indicating an assault or blunt force trauma. In fact, Dr. Anderson’s invitation
was roundly rejected.

95. Upon information and belief, the refusal of Defendant MARYANNE GAFFNEY-
KRAFT to examine the aforesaid tissue specimens was a part of and in furtherance of the
aforesaid conspiracy of which Defendant MARYANNE GAFFNEY-KRAFT had become a
participant. Moreover, as a forensic pathologist with the Georgia Bureau of Investigation,
Defendant MARYANNE GAFFNEY-KRAFT had a duty to examine the tissue specimens which
Dr. Anderson collected during his autopsy as well as, his findings and conclusions as a fellow

forensic pathologist.

96. Following the discovery of their son’s missing organs, plaintiffs sought to inquire of
Antonio Harrington whether he was aware of what had happened to the organs of plaintiffs
decedent. Of the several responses which Antonio Harrington offered, he advised that the
Coroner for Lowndes County, Georgia, had informed him that defendant RODNEY BRYAN, a
death investigator with the GBI, told him via telephone that the viscera or internal organs were

disposed of during the GBI’s official autopsy due to decomposition.

97. Prior to the completion of the aforesaid official autopsy by the defendants
MARYANNE GAFFNEY-KRAFT and the GBI, an Open Records Act (“ORA“) request,
pursuant to OCGA §50-18-70 et seq., was initially placed upon the Lowndes County Sheriff's
Department on behalf of plaintiffs JACQUELYN JOHNSON and KENNETH JOHNSON on
January 28, 2013.

98. Notwithstanding that Sheriff Chris Prine had announced that the Sheriff's Department

had completed its investigation on or about May 4, 2013 and as a consequence thereof, was no
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longer exempt from complying with the plaintiffs’ ORA request, it was not until October 30,
2013 and November 6, 2013 that Sheriff Chris Prine ultimately released the Sheriff's
Department’s full investigative file, including copies of surveillance images recorded at
Lowndes high school on January 10, 2013 and January 11, 2013.

99. The Sheriff's compliance with plaintiffs aforesaid Open Records Act request,
however, was not voluntary, but the result of a court order which was issued on October 30,
2013 and grossly deficient in several respects. The refusal of Sheriff Chris Prine to release the
Sheriff's Department’s full investigative file, was in furtherance of the aforesaid conspiracy and
thus designed to withhold information from Plaintiffs and to interfere with their access to the
courts for purposes of seeking legal redress.

100. Of the materials that were reproduced by said Sheriff's Department for plaintiffs’
examination, plaintiffs were advised that certain documents or materials were being withheld for
various reasons, including but not limited to the desire to protect the privacy of minors whose
identity was otherwise disclosed or suggested in the documents.

101. As a result, said Sheriff's Department withheld photographs and moving images that
plaintiffs were otherwise entitled to receive.

102. In addition to the refusal to disclose entire documents or allow for their review, said
Sheriff's Department redacted many if not most of the documents it produced by eliminating any
information that disclosed or suggested the identity of individuals it maintained or considered to
be minors, as though the alleged minors were entitled to privacy or confidentiality under the

Open Records Act, which they do not.
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103. The aforesaid refusal to comply with plaintiffs’ ORA request constituted a
deliberate and malicious effort to withhold information from plaintiffs who were legitimately
entitled to receive same as a means of determining the true cause of their son’s death, as well as,
the identities and involvement of the individuals who were connected with or responsible for his
death.

104. The aforesaid refusal by Sheriff Chris Prine and each of the various other defendant
law enforcement officers, including but not limited to Defendant Lowndes County Deputies and
Defendant GBI Agents, conducted a kind of investigation that was in furtherance of the aforesaid
conspiracy and, therefore, was designed to not only deliberately and maliciously cover-up the
less-than-adequate effort by said law enforcement agencies to investigate the death of plaintiffs’
decedent, but to also cover-up the identities of those individuals responsible for said decedent’s
death.

105. In addition, the aforesaid refusal by Sheriff Chris Prine to comply with plaintiffs’
ORA request was designed to deliberately and maliciously cover-up how the defendants from
the various law enforcement agencies deliberately and maliciously mishandled the subject
investigation in such a way that anyone who might ever be charged with plaintiffs’ decedent’s
death would never be convicted due to a patently flawed investigation.

106. Upon receipt of the Lowndes County Sheriff's Investigative File regarding the death
of Kendrick Johnson, documents therein reveal that the only students whose parents, including
but not limited to Defendant RICK BELL retained an attorney in response to two or more
requests to be interviewed and who ultimately refused to be interviewed at all were Defendants

BRIAN BELL and BRANDON BELL. Upon information and belief, the failure on the part of
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Defendant Lowndes County Deputies and Defendant GBI Agents to interview Defendants
BRIAN BELL and BRANDON BELL was in furtherance of the aforesaid conspiracy and
designed to shield Defendants BRIAN BELL and BRANDON BELL, as well as others, from
possible criminal prosecution.

107. During the latter part of November 2014, the Lowndes County Sheriff's office chose
to interview for the first time members of the high school’s wrestling team in response to
allegations that school documents showed that the alibi of Defendants BRANDON BELL and
BRIAN BELL were questionable. Upon information and belief, this failure of to promptly
interview the high school’s wrestling team was in furtherance of the said conspiracy.

108. As a result of Plaintiffs discovering that their son’s organs were missing, that their
son’s clothing was missing, as well as, the failure of Defendant Lowndes County Deputies and
Defendant GBI Agents to interview Defendants BRIAN BELL and BRANDON BELL, plaintiffs
filed petition the County Coroner’s Office for Lowndes County seeking to have the coroner
convene a coroner’s inquest.

109. In response, Plaintiffs aforesaid request and petition, Bill Watson, Coroner for
Lowndes County, Georgia, refused to convene a coroner’s inquest on the grounds that he
regarded the findings of Defendant MARYANNE GAFFNEY-KRAFT to be conclusive. Upon
information and belief, the aforesaid corner’s refusal to conduct a coroner’s inquest was the
result of unlawful intimidation on the part of defendant Lowndes County Schoo! Superintendent
WILLIAM “WES” TAYLOR, defendant Federal Bureau of Investigation (“FBI”) Special Agent

and father of Brandon and Brian Bell, RICK BELL, and Lowndes County Sheriff Chris Prine.
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110. Upon information and belief, Coroner Bill Watson received unlawful and malicious
threats from defendant Lowndes County School Superintendent WILLIAM “WES” TAYLOR,
defendant Federal Bureau of Investigation (“FBI”) Special Agent and father of Brandon and
Brian Bell, RICK BELL, and Lowndes County Sheriff Chris Prine, all as a part of the aforesaid

conspiracy to interfere with plaintiffs’ access to the courts and efforts to seek legal redress.

FIRST CAUSE OF ACTION
WRONGFUL DEATH
(Against Defendants BRANDON BELL, BRIAN BELL, RICK BELL, RYAN HALL,
JOHN DOE and JANE DOE)
The Plaintiffs re-allege and incorporate herein, as if set forth in full, each and every
allegation contained in the preceding paragraphs and further allege:
111. Plaintiffs KENNETH JOHNSON and JACQUELYN JOHNSON are husband and
wife, not divorced, and are the parents of KENDRICK LAMAR JOHNSON, who died on

January 10, 2013, at the age of 17 years, leaving no spouse or children.

112. Prior to January 10, 2013, defendant BRIAN BELL attacked plaintiff's decedent
while on a school bus that had taken the high school’ s football team to a game that was being
played out of town. As a result of the brief fight which followed, defendant BRANDON BELL
told plaintiffs’ decedent that “it ain’t over.” In addition, defendant RICK BELL advised
plaintiff's decedent that he should come to his home to fight his son defendant BRIAN BELL

because the fight on the bus was not a fair fight.
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113. At all times relevant herein, defendants BRANDON BELL, BRIAN BELL and
RICK BELL had been seeking revenge for the fight that had taken place on the aforesaid school
bus.

114. On January 10, 2013, defendants BRANDON BELL, BRIAN BELL, RICK BELL,
RYAN HALL, JOHN DOE and JANE DOE caused an unjustified assault upon plaintiffs’
decedent.

115. The aforesaid assault upon plaintiffs’ decedent was also in response to a parental
command made by defendant RICK BELL, who also engaged in parental ratification of the
misconduct by defendants BRANDON BELL and BRIAN BELL. Accordingly, defendant RICK
BELL is also liable for the wrongful death of plaintiffs’ decedent pursuant to O.C.G.A. Sec. 51-
2-2.

116. As a direct and proximate result of the defendants BRANDON BELL, BRIAN
BELL, RICK BELL, RYAN HALL, JOHN DOE and JANE DOE’s unlawful and reckless
disregard for the rights of others, plaintiffs’ decedent suffered a violent and needless death.

117. Plaintiffs have been damaged through losing their youngest son and through his
homicide in an amount that shall be proven at the time of trial.

SECOND CAUSE OF ACTION
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
(Against All Defendants)
The Plaintiffs re-allege and incorporate herein, as if set forth in full, each and every

allegation contained in the preceding paragraphs and further allege:
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118. Each of the Defendants named herein and whose specific conduct is identified in the
preceding section entitled “Facts Common to All Claims,” Paragraphs 42 to 110, inclusive,
engaged in a conspiracy to conduct an orchestrated and corrupt effort to cover up the misconduct
of certain individuals, more particularly that of defendants BRANDON BELL, BRIAN BELL,
and RICK BELL, and as a consequence, was directed toward the Plaintiffs, as described herein.
As such, said defendants’ conduct was intentional, unlawful, and malicious. It is so outrageous
that it is not tolerated by civilized society.

119. As a direct and proximate result of the conduct as set forth and identified in
Paragraphs 42 to 110, herein, the Plaintiffs suffered serious mental injuries and emotional
distress that no reasonable person could be expected to endure or adequately cope with.

120. In their conduct, each of the Defendants named herein, and as specifically set forth
in Paragraphs 42 to 110, herein, acted intentionally, knowingly, with oppression, fraud and
malice and in reckless and conscious disregard of the rights of the Plaintiffs. The Plaintiffs are,
therefore, entitled to punitive and exemplary damages from each of the Defendants in such
amount as shall be necessary and appropriate to punish the Defendants and to deter them and

anyone else from ever committing similar indecencies and acts of corruption.

THIRD CAUSE OF ACTION
FAILURE TO PROPERLY HIRE, TRAIN, AND SUPERVISE
(Against Defendants Chris Prine, Frank Simmons, and City of Valdosta)
. The Plaintiffs re-allege and incorporate herein, as if set forth in full, each and every

allegation contained in the preceding paragraphs and further allege:
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121. At all material times, the Defendants CHRIS PRINE, FRANK SIMMONS, and
CITY OF VALDOSTA owed a duty to the Plaintiffs to properly hire, train and supervise all
individuals whom it placed in a position of responsibility relative to the proper execution of a
criminal investigation.

122. The aforementioned duties include, but are not limited to: the hiring, retention,
training and supervision of all agents, employees and representatives of the Defendants CHRIS
PRINE, FRANK SIMMONS, and CITY OF VALDOSTA in connection with the criminal
investigation; their association with other persons and entities to accomplish the performance of
a proper investigation; the individual, proper and respectful performance of all steps of the
related processes; and the ascertainment that all such duties were being fully and properly
undertaken and performed.

123. Said Defendants’ conduct, in their individual capacities, were so willful, wanton,
and malicious that plaintiffs are entitled to punitive damages against them in their individual

capacities.

FOURTH CAUSE OF ACTION

VIOLATION OF PLAINTIFFS’ RIGHT TO DUE PROCESS UNDER STATE LAW

(Against Defendants Chris Prine, Shannon Salters, Ray Mcgraw, Jack Winningham,

Wanda Edwards, Stryde Jones, Aaron Pritchett, Logan Henderson, Randy Lightsey,
Michael Adams, Jack Priddy, Kerry Quinn, Christi Griffin, Bryce Whitener, Christopher

Burke, Troy Black, Howard Fisher, Mark Maskule, Roy Hart, John Marion Frank
Simmons, Steve Turner, Rodney Bryan, Amy Braswell, Mike Callahan, Lindsay Marchant,
Kristen Perry, Wes Horne, Rodney Bryan, and Maryanne Gaffney-Kraft)

The Plaintiffs re-allege and incorporate herein, as if set forth in full, each and every

allegation contained in the preceding paragraphs and further allege:
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124. At all material times, the Defendants VERNON KEENAN, SHANNON SALTERS,
RAY MCGRAW, JACK WINNINGHAM, WANDA EDWARDS, STRYDE JONES, AARON
PRITCHETT, LOGAN HENDERSON, RANDY LIGHTSEY, MICHAEL ADAMS, JACK
PRIDDY, KERRY QUINN, CHRISTI GRIFFIN, BRYCE WHITENER, CHRISTOPHER
BURKE, TROY BLACK, HOWARD FISHER, MARK MASKULE, ROY HART, JOHN
MARION FRANK SIMMONS, STEVE TURNER, RODNEY BRYAN, AMY BRASWELL,
MIKE CALLAHAN, LINDSAY MARCHANT, KRISTEN PERRY, WES HORNE, RODNEY
BRYAN, AND MARYANNE GAFFNEY-KRAFT owed a duty to the Plaintiffs to properly
investigate the circumstances surrounding the death of their son, Kendrick Lamar Johnson, and
in the course thereof, determine the identities of all individuals who were in any way responsible
for causing their son’s death.

125. As law enforcement officers and state actors, the aforesaid defendants identified in
the paragraph above violated the due process clause under the State Constitution for the State of
Georgia by neglecting their duty to properly investigate the circumstances surrounding the death
of plaintiffs’ aforesaid son.

126. As a result of the failure of Defendants VERNON KEENAN, SHANNON
SALTERS, RAY MCGRAW, JACK WINNINGHAM, WANDA EDWARDS, STRYDE
JONES, AARON PRITCHETT, LOGAN HENDERSON, RANDY LIGHTSEY, MICHAEL
ADAMS, JACK PRIDDY, KERRY QUINN, CHRISTI GRIFFIN, BRYCE WHITENER,
CHRISTOPHER BURKE, TROY BLACK, HOWARD FISHER, MARK MASKULE, ROY
HART, JOHN MARION FRANK SIMMONS, STEVE TURNER, RODNEY BRYAN, AMY

BRASWELL, MIKE CALLAHAN, LINDSAY MARCHANT, KRISTEN PERRY, WES
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HORNE, RODNEY BRYAN, AND MARYANNE GAFFNEY-KRAFT to perform the
investigation into the death of plaintiffs’ son as set forth in the preceding paragraph, as well as,
by interfering with their due process right to have access to the courts for legal redress, the
aforesaid defendants have violated the due process clause under the State Constitution for the
State of Georgia.

127. Said Defendants’ conduct, in their individual and official capacities, have damaged
plaintiffs, and as a consequence, are demanding compensation in an amount that shall be proved

at trial.

FIFTH CAUSE OF ACTION
VIOLATION OF PLAINTIFFS’ RIGHT TO EQUAL PROTECTION
UNDER STATE LAW

(Against Defendants Chris Prine, Shannon Salters, Ray Mcgraw, Jack Winningham,

Wanda Edwards, Stryde Jones, Aaron Pritchett, Logan Henderson, Randy Lightsey,
Michael Adams, Jack Priddy, Kerry Quinn, Christi Griffin, Bryce Whitener, Christopher

Burke, Troy Black, Howard Fisher, Mark Maskule, Roy Hart, John Marion Frank
Simmons, Steve Turner, Rodney Bryan, Amy Braswell, Mike Callahan, Lindsay Marchant,
Kristen Perry, Wes Horne, Rodney Bryan, and Maryanne Gaffney-Kraft)

The Plaintiffs re-allege and incorporate herein, as if set forth in full, each and every
allegation contained in the preceding paragraphs and further allege:

128. At all material times, the Defendants CHRIS PRINE, SHANNON SALTERS, RAY
MCGRAW, JACK WINNINGHAM, WANDA EDWARDS, STRYDE JONES, AARON
PRITCHETT, LOGAN HENDERSON, RANDY LIGHTSEY, MICHAEL ADAMS, JACK
PRIDDY, KERRY QUINN, CHRISTI GRIFFIN, BRYCE WHITENER, CHRISTOPHER
BURKE, TROY BLACK, HOWARD FISHER, MARK MASKULE, ROY HART, JOHN

MARION FRANK SIMMONS, STEVE TURNER, RODNEY BRYAN, AMY BRASWELL,
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MIKE CALLAHAN, LINDSAY MARCHANT, KRISTEN PERRY, WES HORNE, RODNEY
BRYAN, AND MARYANNE GAFFNEY-KRAFT owed a duty to the Plaintiffs to properly
investigate the circumstances surrounding the death of their son, Kendrick Lamar Johnson, and
in the course thereof, determine the identities of all individuals who were in any way responsible
for causing their son’s death.

129. As law enforcement officers and state actors, the aforesaid defendants identified in
the paragraph above violated the equal protection clause under the State Constitution for the
State of Georgia by neglecting their duty to properly investigate the circumstances surrounding
the death of plaintiffs’ aforesaid son and, minimally in a manner that would have been the same
as that afforded any other individuals had plaintiffs been Caucasian or members of the white
race.

130. As a result of the failure of Defendants CHRIS PRINE, SHANNON SALTERS,
RAY MCGRAW, JACK WINNINGHAM, WANDA EDWARDS, STRYDE JONES, AARON
PRITCHETT, LOGAN HENDERSON, RANDY LIGHTSEY, MICHAEL ADAMS, JACK
PRIDDY, KERRY QUINN, CHRISTI GRIFFIN, BRYCE WHITENER, CHRISTOPHER
BURKE, TROY BLACK, HOWARD FISHER, MARK MASKULE, ROY HART, JOHN
MARION FRANK SIMMONS, STEVE TURNER, RODNEY BRYAN, AMY BRASWELL,
MIKE CALLAHAN, LINDSAY MARCHANT, KRISTEN PERRY, WES HORNE, RODNEY
BRYAN, AND MARYANNE GAFFNEY-KRAFT to perform the investigation into the death of
plaintiffs’ son as set forth in the preceding paragraph, as well as, by interfering with their due
process right to have access to the courts for legal redress, the aforesaid defendants have violated

the equal protection clause under the State Constitution for the State of Georgia.
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131. Said Defendants’ conduct, in their individual and official capacities, have damaged
plaintiffs, and as a consequence, are demanding compensation in an amount that shall be proved

at trial.

SIXTH CAUSE OF ACTION
PLAINTIFFS’ PETITION FOR INJUNCTIVE RELIEF
(Against Defendants Chris Prine and Maryanne Gaffney-Kraft)

The Plaintiffs re-allege and incorporate herein, as if set forth in full, each and every
allegation contained in the preceding paragraphs and further allege:

132. At all material times, the Defendant CHRIS PRINE, and investigators within the
Lowndes County Sheriff's Department has the authority to make an official request that
Defendant MARYANNE GAFFNEY-KRAFT examining the tissue specimens collected by Dr.
William Anderson during the course of his autopsy, and thereafter re-examining her findings to
determine whether she should correct any aspect of her conclusions as a forensic pathologist for
the Georgia Bureau of Investigation, and, as required by law.

133. At all material times, Defendant MARYANNE GAFFNEY-KRAFT has a duty to
perform the services set forth by her terms of employment as a forensic pathologist for the
Georgia Bureau of Investigation, and, as otherwise required by law.

134. Following the aforesaid receipt of an autopsy report that was based upon an autopsy
that was performed by Dr. William Anderson of Orlando, Florida, which disputed the official
findings of the autopsy performed by Defendant MARYANNE GAFFNEY-KRAFT several

months before, Defendant MARYANNE GAFFNEY-KRAFT was requested by Dr. Anderson to

examine tissue specimens when he removed them from the remains of plaintiffs’ decedent.
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135. Moreover, based upon the, the official findings of the autopsy performed by
Defendant MARYANNE GAFFNEY-KRAFT, said defendant omitted any acknowledgment that
she reviewed or considered a medical report submitted by the EMT’s (emergency medical
technicians) who observed the body of plaintiffs’ decedent at the time that it was first
discovered. The medical report submitted by the EMT’s revealed the presence of a bruise at a
location which was consistent with Dr. Anderson’s findings.

136. As taxpayers and citizens of the State of Georgia, plaintiffs are owed a duty on the
part of Defendant MARYANNE GAFFNEY-KRAFT to exercise reasonable judgment in
carrying out her role as a forensic pathologist associated with the investigation into the cause of
death of Plaintiffs’ son, Kendrick Lamar Johnson, regardless of whether said defendant agrees
with the findings of others within her field of expertise.

137. To date, Defendant MARYANNE GAFFNEY-KRAFT nor any member of the
Georgia Bureau of Investigation, has shown an inclination or desire to examine tissue specimens
which Dr. Anderson removed from an area of the remains of plaintiffs’ decedent and that was
never “sectioned” and thus examined nor addressed by Defendant MARYANNE GAFFNEY-
KRAFT. This failure on the part of Defendant MAR YANNE GAFFNEY-KRAFT constitutes a
violation of state law requiring that death and other such investigations be performed in a
competent and reasonable manner.

138. Plaintiffs have no adequate legal remedy available to them and the injury that will
result is imminent and irreparable.

139. As a consequence, plaintiffs pray that this court will direct Defendant VERNON

KEENAN and Defendant MARYANNE GAFFNEY-KRAFT to make arrangements for the
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examination of the tissue specimens collected by Dr. William Anderson and upon doing so, give

proper consideration to such evidence as dictated by her honest and professional judgment.

TWELFTH CAUSE OF ACTION
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
(As Against Defendants Ryan Hall and Richard Bell)

The plaintiffs re-allege and incorporate herein, as if set forth in full, each and every
allegation contained in the preceding paragraphs of each complaint or amended complaint and
further allege:

140. On a date currently unknown to plaintiffs, but which occurred after J anuary 29,
2014, the defendants RYAN HALL and RICK BELL met ina parking lot of Lowndes High
School.

141. Upon information and belief, Defendants RYAN HALL and RICK BELL conspired
with one another on said occasion for purposes of presenting false and misleading information to
law enforcement officials, including but not limited to a federal grand jury.

142. Upon information and belief, Defendants RYAN HALL and RICK BELL conspired
with one another on said occasion for purposes of presenting false and misleading information to
a federal grand jury which had subpoenaed Defendant RYAN HALL to appear and give sworn
testimony in connection with an investigation into the death of plaintiffs’ decedent, Kendrick
Johnson.

143, Upon information and belief, Defendant RICK BELL delivered, or cause to be
delivered, printed materials pertaining to the school attendance records of Defendant RYAN

HALL as a part of a conspiracy to mislead investigators, the grand jury, and plaintiffs into
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believing that the death of plaintiffs’ decedent was due to accidental circumstances, and that
regardless of whether the death of plaintiffs’ decedent was accidental or intentional, Defendant
RYAN HALL was not involved due to his presence at another location in the school.

144. The aforesaid conduct of Defendants RYAN HALL and RICK BELL was both
intentional, as well as, extreme and outrageous.

145. As a direct and proximal result of the aforesaid intentional misconduct of
Defendants RYAN HALL and RICK BELL, plaintiffs were forced to endure severe emotional
distress.

146. In their conduct, said Defendants acted intentionally, knowingly, with oppression,
fraud and malice and in reckless and conscious disregard of the rights of the Plaintiffs. The
Plaintiffs are, therefore, entitled to punitive and exemplary damages from each of the Defendants
in such amount as shall be necessary and appropriate to punish the Defendants and to deter them

and anyone else from ever committing similar indecencies and acts of corruption.

THIRTEENTH CAUSE OF ACTION
FRAUD THROUGH STATEMENTS AND SILENCE
(As Against Defendants Wes Taylor, Chris Prine, Frank Simmons, Richard “Rick” Bell,
and Stryde Jones)
The plaintiffs re-allege and incorporate herein, as if set forth in full, each and every
allegation contained in the preceding paragraphs of each complaint or amended complaint and
further allege:

147. On January 10, 2013, Plaintiffs contacted members of the law enforcement agencies

within Valdosta, Lowndes County, Georgia, including the City of Valdosta Police Department
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and the Lowndes County Sheriff’s Office, all for purposes of establishing the whereabouts of
plaintiffs’ decedent.

148. On the morning of January 11, 2013, Plaintiff JACQUELYN JOHNSON contacted
staff members of the Lowndes High School for purposes of establishing the whereabouts of their
son, Kendrick Johnson.

149. Upon contacting personnel with each of the aforesaid law enforcement agencies, as
well as, the Lowndes County High School, Plaintiff JACQUELYN JOHNSON was advised that
they did not know, or were unaware as to the whereabouts of plaintiffs’ son, Kendrick Johnson.

150. On or about January 11, 2013, the body of Kendrick Johnson was discovered in the
old gymnasium at Lowndes high school, approximately eight (8) hours after Plaintiff
JACQUELYN JOHNSON had made inquiry to members of the aforesaid local law enforcement
agencies.

151. Upon information and belief, Lowndes County School Superintendent Defendant
WES TAYLOR, Lowndes County Sheriff Defendant CHRIS PRINE, Valdosta Police Chief
Defendant FRANK SIMMONS, Defendant RICK BELL, and Lowndes County Sheriff's
Investigator Defendant STRYDE JONES, were each aware on January 10, 2013 that plaintiffs’
son, Kendrick Johnson had died or was severely injured on January 10, 2013, and that his body
was on the campus of Lowndes High School.

152. Upon information and belief, each of the aforesaid defendants were, by virtue of
their role as public safety officers, school administrators and public officials, under a duty to
disclose to plaintiffs the location and condition of plaintiffs’ decedent.

153. Contrary to said duty, each of the aforesaid defendants misled plaintiffs insofar as

denying knowledge of plaintiffs’ decedent’s whereabouts or their possession of information that
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would have been responsive to plaintiffs’ inquiry regarding the whereabouts of their son,
Kendrick Johnson.

154. Contrary to said duty, each of the aforesaid defendants misled plaintiffs insofar as
refusing to disclose, i.e. through their silence, that they had knowledge or were in possession of
information that would have been responsive to plaintiffs’ inquiry regarding the whereabouts of
their son, Kendrick Johnson.

155. The aforesaid defendants carried out the aforementioned through the engagement
and execution of a conspiracy for purposes of misleading plaintiffs regarding the whereabouts of
their son, Kendrick Johnson, and for purposes of shielding and thus protecting Defendants
BRIAN BELL, BRANDON BELL, and RYAN HALL from accepting responsibility for their
part in causing the death of Kendrick Johnson.

156. As a direct and proximal result of the aforesaid misconduct by Defendants WES
TAYLOR, CHRIS PRINE, FRANK SIMMONS, RICK BELL, and STRYDE JONES, Plaintiffs
were restrained from taking action that may have saved the life of their son, Kendrick Johnson,
or lead to the prompt identification of their son’s cause of death, as well as, the persons who
were responsible.

WHEREFORE, the Plaintiffs request the following relief:

a. An award of compensatory damages for each Plaintiff, in an amount deemed
appropriate by the enlightened conscience of the trier of fact, jointly and severally,
against the Defendants;

b. An award of punitive damages, jointly and severally, against the Defendants;

c. An award of pre-judgment and post-judgment interest;
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d. An award of costs, including, but not limited to, discretionary costs, attorneys’ fees
and expenses incurred in pursuing this case;

e. Any other and further relief this Court deems just and proper; and

f. Any other and further relief to which they may be entitled.

FOURTEENTH CAUSE OF ACTION

Against Defendant Chris Prine
UNDER STATE LAW

159. On January 10, 2013, KENDRICK LAMAR JOHNSON (hereinafter sometimes
referred to as “plaintiffs’ decedent” or “plaintiffs’ son” or “plaintiffs” child”), an African-
American student, was attending Lowndes High School in Valdosta, Lowndes County, Georgia.

160. At some point during the afternoon of January 10, 2013, plaintiff's decedent failed
to attend the balance of his scheduled classes.

161. Upon information and belief, plaintiff's decedent entered an area upon the Lowndes
High School campus where, after either being induced by a fellow student to go to said location
or because of plaintiffs decedent’s relationship to a fellow student, plaintiffs’ decedent
encountered by Brandon Bell and Brian Bell, both of whom were fellow male students at said
high school and the children of a local FBI agent, Rick Bell.

162. Upon information and belief, when plaintiffs decedent arrived at the
aforementioned location, he was violently assaulted by persons, including but not limited to
Brandon Bell and BRIAN BELL, and, in the course thereof, suffered a fatal blow which led to

his death.
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163. Following the death of plaintiffs’ decedent, if not during the course of said assault,
defendants placed the body of plaintiffs’ decedent inside of a rolled-up gym mat and secluded

same in the far southwest corner of the gymnasium that is commonly referred to as the “old

”

gym.

164. On the morning of January 11, 2013, Plaintiff JACQUELYN JOHNSON came to
said high school to inquire as to the whereabouts of plaintiff's decedent who had failed to return
home from said high school the evening before.

165. Upon information and belief, Lori Taylor and her younger sister Laina Taylor, who
were students at said high school and who are the daughters of Lowndes County School District
school superintendent Wes Taylor, alerted school officials as to the location of the body of
plaintiffs’ decedent while it was still in the said rolled-up gym mat.

166. While waiting in the administrative offices of said school, Plaintiff JACQUELYN
JOHNSON was advised that the dead body of her son had been located in the old gym.

167. In the several hours which followed various members of the law enforcement
agencies appeared at said high school for the alleged purpose of investigating the death of
plaintiff's decedent.

168. Representatives of the various law enforcement agencies who arrived at the
aforesaid high school shortly following the discovery of the body of plaintiffs’ decedent included
the Lowndes County Sheriff's Department, the City of Valdosta Police Department, the
Valdosta-Lowndes, Regional Crime Laboratory (“VLRCL”) and the Georgia Bureau of

Investigation (“GBI”).
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169. In addition to the aforesaid law-enforcement agencies, one of the first responders to
arrive at the aforesaid high school included two (2) emergency medical technicians (“EMT”)
who examined the body plaintiffs’ decedent while it was still in the aforesaid old gym.

170. Of the various observations which were made by said EMTs, they noted that there
was bruise to the right side of the jaw of plaintiffs’ decedent. In preparing their report regarding
their observations of the body of plaintiffs’ decedent, said EMTs characterized the location of
said body as a “crime scene.”

171. Notwithstanding the aforesaid observations of said EMTs, who upon information
and belief were the first and only medical experts to examine the body of plaintiffs’ decedent
while it was still in the aforesaid old gym, each of the defendant law enforcement officers failed
to follow appropriate procedures to ensure against the contamination of the area surrounding
where the body of plaintiffs’ decedent was allegedly discovered or located.

172. After Plaintiff JACQUELYN JOHNSON was notified that the body that had been
located in the gymnasium was believed to be her son, she along with other family members who
arrived at the aforesaid high school, requested but were refused permission by persons acting
under the authority and supervision of defendant to identify the body.

173. Notwithstanding the discovery of a dead body and the presence of defendant law-
enforcement officials, said defendants knowingly and with malicious intent failed to notify the
Lowndes County Coroner for approximately six (6) hours following the alleged discovery of the
body of plaintiffs’ decedent.

174. The aforesaid failure of the defendant Sheriff CHRIS PRINE to immediately notify

the Lowndes County Coroner was in deliberate violation of the laws of the state of Georgia,
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more specifically identified as O.C.G.A § 45-16-24, which states, in relevant part, that “it shall
be the duty of any law enforcement officer or other person having knowledge of such death to
notify immediately the corner or county medical examiner of the county in which the acts or
events resulting in the death occurred or the body is found.”

175. Notwithstanding the discovery of a dead body, the aforesaid observations of said
EMTs, as well as, the location of blood of an unidentified source that was observed upon the
surfaces of walls that were proximal to the location of the body of plaintiffs’ decedent,
Defendant CHRIS PRINE, expressed to the news media on January 11, 2013 that there was no
evidence of “foul play” and that the cause of death was accidental based upon a theory that
plaintiff's decedent died as a result of him attempting to retrieve a tennis shoe by entering into
the center opening of the aforesaid rolled-up gym mat and thereafter becoming stuck and without
the ability to free himself.

176. On or about January 12, 2013, Plaintiff KENNETH JOHNSON requested
permission to view the body of plaintiffs’ decedent, but was also refused permission by
defendants.

177. Following the aforementioned denial of permission by defendants to allow plaintiffs
JACQUELYN JOHNSON and KENNETH JOHNSON to view and identify the body of their
deceased son, plaintiffs contacted the news media and conducted a press conference to voice
their concerns regarding the kind of treatment that they were receiving from said defendant
members of the law enforcement community, more particularly the Lowndes County Sheriff's

Department and the Valdosta-Lowndes, Regional Crime Laboratory.
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178. Upon information and belief, defendant Sheriff CHRIS PRINE and members of the
Lowndes County Sheriff’s Department, the City of Valdosta Police Department, and the
Valdosta-Lowndes, Regional Crime Laboratory reconsidered their position regarding the
Plaintiffs’ request to view the body of their son and, as a consequence, granted them permission
to come to the Valdosta-Lowndes, Regional Crime Laboratory for purposes of viewing the body.

179. On January 13, 2013, plaintiffs JACQUELYN JOHNSON and KENNETH
JOHNSON went to the Valdosta-Lowndes, Regional Crime Laboratory where they were met by
defendant Sheriff CHRIS PRINE and other members of the Sheriff’s Department for purposes of
viewing the body of plaintiffs’ decedent. On that occasion, plaintiff KENNETH JOHNSON
entered the room where the body of plaintiffs’ decedent was being stored and noted that the
room temperature appeared to be much warmer than what he had anticipated inasmuch as he
thought that said room and the vault that the decedent’s body was in was designed to preserve
the remains through a process similar to refrigeration.

180. At that time, defendant Sheriff CHRIS PRINE explained to plaintiffs that plaintiff's
decedent had entered the center hole of the aforementioned gym mat “feet first” and that while at
the bottom of the hole, plaintiffs’ decedent bent over to retrieve his tennis shoe and became stuck
in such a way that he could not free or remove himself from the hole.

181. Upon hearing the foregoing explanation, plaintiff KENNETH JOHNSON stated to
Sheriff CHRIS PRINE that his explanation was not possible, whereupon STRYDE JONES stated
to plaintiff KENNETH JOHNSON that he (KENNETH JOHNSON) did not understand that

“when you die, your muscles relax and then you fall forward.”
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182. Approximately two (2) or more days later, an ex-employee of the Lowndes County
Sheriff's Department contacted plaintiff KENNETH JOHNSON and stated to him that he
(KENNETH JOHNSON) misunderstood what defendant Sheriff CHRIS PRINE and STRYDE
JONES had attempted to explain to plaintiffs and that their explanation was meant to explain that
plaintiff's decedent had entered the center hole of the gym mat head first instead of feet first.

183. Due to the aforesaid findings of “no foul play” and a theory offered by defendant
Sheriff CHRIS PRINE, Plaintiffs KENNETH JOHNSON and JACQUELYN JOHNSON were
desirous of having a further investigation into the cause and circumstances of their son’s death.

184. Concurrent therewith, Plaintiffs contacted Harrington’s Funeral Home and Antonio
Harrington for purposes of properly handling the remains of plaintiff’s decedent, as well as,
making the arrangements for the funeral services and internment of his remains.

185. On or about January 14, 2013, the remains of Plaintiffs’ minor child were
transported by Stephen Wesley Owens of Owen’s Transport Service from the Valdosta-
Lowndes, Regional Crime Laboratory to the GBI’s Crime Lab located in Macon, Georgia for
purposes of undergoing an official autopsy. Upon completion of said autopsy, Stephen Wesley
Owens transported the remains of plaintiff's decedent back to Valdosta during the early
afternoon hours of January 14, 2013 delivered said remains of Plaintiffs’ decedent to
Harrington’s Funeral Home, all of which was pursuant to an understanding and oral agreement
entered into between Plaintiffs and Defendants.

186. Antonio Harrington expressed to Plaintiffs KENNETH JOHNSON and
JACQUELYN JOHNSON his concerns as to the aforesaid explanation for their child’s death and

recommended that they should get a “second opinion” as to the cause of death notwithstanding
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the then-unknown-findings of official autopsy. Plaintiffs concurred with Antonio Harrington’s
recommendation.

187. On or about January 16, 2013, an occasion on which Plaintiffs KENNETH
JOHNSON and JACQUELYN JOHNSON visited The Harrington’s Funeral Home, said
plaintiffs inquired of Antonio Harrington whether they could collect the clothing that plaintiffs
decedent was wearing at the time that is body was discovered Lowndes High School. Responsive
to said request, Antonio Harrington advised Plaintiffs that he was unaware that their child had
any clothes when his remains were returned from the aforesaid GBI Crime Lab.

188. In addition to the aforesaid inquiry about their minor child’s clothing, Plaintiffs
discussed with Antonio Harrington the manner in which the remains would be prepared in
contemplation of funeral proceedings. During said discussion, Antonio Harrington recommended
that due to the level of decomposition that had been suffered to the face of Plaintiffs’ minor
child, that the funeral be a “closed casket” ceremony. In response, Plaintiffs vehemently opposed
Antonio Harrington’s recommendation and, thereafter, insisted that the ceremony be an “open
casket” funeral. Upon being so advised, Antonio Harrington agreed to properly embalm the
remains of plaintiff's decedent, as well as, make it presentable for the anticipated “open casket”
funeral service. In connection therewith, , Antonio Harrington nor his staff were ever authorized
by Plaintiffs to destroy or dispose of any of the plaintiffs’ decedent’s body parts, including but
not limited to his internal organs.

189. In the course of attempting to ascertain the whereabouts of plaintiffs’ decedent’s

clothing, Plaintiffs contacted the GBI Crime Lab in Macon, Georgia based upon Antonio
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Harrington’s representations to them that the subject clothing was not returned with the remains
of plaintiffs’ decedent.

190. Upon making contact with employees at the aforesaid GBI Crime Lab, Plaintiffs
JACQUELYN JOHNSON and KENNETH JOHNSON were advised that all personal effects,
including but not limited to plaintiff's decedent’s clothing, was placed in a body bag and
returned to Valdosta, Georgia with the aforesaid remains.

191. In addition to making contact with the aforesaid GBI Crime Lab for purposes of
locating the said clothing which was worn by their son, plaintiffs JACQUELYN JOHNSON and
KENNETH JOHNSON inquired as to the length of time that it would take the GBI Crime Lab to
complete the autopsy report.

192. After several months of repeatedly calling the GBI Crime Lab to establish the status
of the autopsy report, on or about May 2, 2013 the autopsy report which had been authored and
prepared by Dr. Maryanne Gaffney-Kraft was released to the Lowndes County Sheriff’s
Department and ultimately, to Plaintiffs JACQUELYN JOHNSON and KENNETH JOHNSON.
This autopsy report concluded that the cause of death of Plaintiffs’ decedent was positional
asphyxia and the manner of death was concluded to be accidental.

193. Inasmuch as Plaintiffs JACQUELYN JOHNSON and KENNETH JOHNSON were
in receipt of conflicting evidence and reports, as well as, being beleaguered by many unanswered
questions, Plaintiffs made arrangements to have the remains of their son’s remains exhumed for
purposes of conducting a second and independent autopsy.

194. Yet, in spite of the absence of any ordinance, regulation, or state law requiring that

the next of kin obtain a court order before they would be allowed to remove the remains of their
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loved one, in this instance, the city manager the City Of Valdosta required that the Plaintiffs
JACQUELYN JOHNSON and KENNETH JOHNSON petition the Superior Court of Lowndes
County for a court order before allowing them to exhume the remains of the plaintiffs’ decedent.

195. On or about June 14, 2013, Plaintiffs’ minor child was disinterred, and thereafter,
the remains of plaintiff's decedent were transported to Orlando, Florida on June 15, 2013 for
purposes of undergoing a second and independent autopsy by Dr. William R. Anderson, a
licensed forensic pathologist in Orlando, Florida.

196. On or about June 15, 2013, as Dr. Anderson began to examine the inside of said
minor child’s abdomen, he devised that all of the internal organs were missing and that said
decedent’s body was stuffed with waded newspaper.

197. In addition, Dr. Anderson observed that the brain of Plaintiffs’ decedent was also
missing. Upon information and belief, the autopsy by Dr. Anderson was made more complicated
and thus deprived him of the ability to conduct the type of autopsy that was otherwise
contemplated and more definitive in nature.

198. Notwithstanding the foregoing circumstances, Dr. Anderson established that
Plaintiffs’ decedent had suffered an injury to the right side of his upper neck, and that the cause
of death was blunt force trauma, an injury that was consistent with one that had been “inflicted”
upon plaintiffs’ decedent and “non-accidental” in nature.

199. Inasmuch as the right side of plaintiffs’ decedent’s upper neck had not been
sectioned by Dr. Maryanne Gaffney-Kraft, the forensic pathologist who performed the official
autopsy for the GBI, Dr. Anderson reached out to said defendant or her office to establish

whether or not she wanted to examine his findings, including the tissue samples which were
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taken from plaintiffs decedent during his autopsy of June 15, 2013. Upon information and belief,
Dr. Maryanne Gaffney-Kraft nor anyone from her agency ever accepted Dr. Anderson’s
aforesaid invitation to examine his tissue specimens and thus establish whether or not said
defendant had missed a critical factor in reaching her opinion as to whether the cause of death
was altogether accidental or possessed features indicating an assault or blunt force trauma. In
fact, Dr. Anderson’s invitation was roundly rejected.

200. Prior to the completion of the aforesaid official autopsy by Dr. Maryanne Gaffney-
Kraft and GBI, an Open Records Act (“ORA“) request, pursuant to OCGA §50-18-70 et seq.,
was initially placed upon the Lowndes County Sheriff's Department on behalf of plaintiffs
JACQUELYN JOHNSON and KENNETH JOHNSON on January 28, 2013.

201. Notwithstanding that defendant Sheriff CHRIS PRINE had announced that the
Sheriff's Department had completed its investigation on or about May 4, 2013 and as a
consequence thereof, was no longer exempt from complying with the plaintiffs’ ORA request, it
was not until October 30, 2013 and November 6, 2013 that defendant Sheriff CHRIS PRINE
ultimately released the Sheriff's Department’s full investigative file, including copies of
surveillance images recorded at Lowndes high school on January 10, 2013 and J anuary 11, 2013.
Said defendant Sheriff's compliance with plaintiffs aforesaid Open Records Act request,
however, was the result of a court order which was issued on October 30, 2013 directing the
Sheriff's Department to comply, as opposed to a voluntary act.

202. Of the materials that were reproduced by said Sheriff’s Department for plaintiffs'

examination, plaintiffs were advised that certain documents or materials were being withheld for
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various reasons, including but not limited to the desire to protect the privacy of minors whose
identity was otherwise disclosed or suggested in the documents.

203. In addition, said Sheriff's Department under the specific direction of defendant
Sheriff CHRIS PRINE withheld photographs and moving images that plaintiffs were otherwise
entitled to receive.

204. In addition to the refusal to disclose entire documents or allow for their review, said
Sheriff's Department, under the specific direction of defendant Sheriff CHRIS PRINE, redacted
many if not most of the documents it produced by eliminating any information that disclosed or
suggested the identity of individuals it maintained or considered to be minors, as though the
alleged minors were entitled to privacy or confidentiality under the Open Records Act, which
they do not.

205. As a consequence of said Sheriff's Department’s refusal to comply with the clear
mandates of the Open Records Act, plaintiffs JACQUELYN JOHNSON and KENNETH
JOHNSON were forced to file a lawsuit against defendant Sheriff CHRIS PRINE.

206. The aforesaid refusal to comply with plaintiffs’ ORA request constituted a
deliberate and malicious effort to withhold information from plaintiffs who were legitimately
entitled to receive same as a means of determining the true cause of their son’s death, as well as,
the identities and involvement of the individuals who were connected with or responsible for his
death, including, but not limited to Brandon Bell and Brian Bell, the aforesaid sons of FBI Agent
Rick Bell.

207. The aforesaid refusal by defendant Sheriff CHRIS PRINE and the various members

of the Lowndes County Sheriff's Department was designed to also deliberately and maliciously
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cover-up the deliberate effort by said law enforcement agencies to conduct a flawed
investigation into the death of plaintiffs’ decedent and thereby protect persons including, but not
limited to, said Brandon Bell and Brian Bell, the aforesaid sons of FBI Agent Rick Bell.

208. In addition, the aforesaid refusal by defendant Sheriff CHRIS PRINE to comply
with plaintiffs’ ORA request was designed to deliberately and maliciously cover-up how various
members of Lowndes County Sheriff's Department and the Georgia Bureau of Investigation
deliberately and maliciously mishandled their investigation in such a way that anyone who
would ever be charged with plaintiffs decedent’s death would not be criminally convicted or
held accountable as a result of civil prosecution.

SECOND CAUSE OF ACTION
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

209. The Plaintiffs re-allege and incorporate herein, as if set forth in full, each and every
allegation contained in the preceding paragraphs and further allege:

210. The defendant Sheriff CHRIS PRINE’s conduct directed toward the Plaintiffs, as
described herein, was intentional malicious. It is so outrageous that it is not tolerated by civilized
society.

211 As a direct and proximate result of the Defendants’ conduct, the Plaintiffs suffered
serious mental injuries and emotional distress that no reasonable person could be expected to
endure or adequately cope with.

212. By virtue of his conduct, defendant Sheriff CHRIS PRINE acted intentionally,
knowingly, with oppression, fraud and malice and in reckless and conscious disregard of the

rights of the Plaintiffs. The Plaintiffs are, therefore, entitled to punitive and exemplary damages
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from the Defendants in such amount as shall be necessary and appropriate to punish defendant
Sheriff CHRIS PRINE and to deter him and anyone else from ever committing similar
misconduct in the future.
THIRD CAUSE OF ACTION
NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

213. The Plaintiffs re-allege and incorporate herein, as if set forth in full, each and every
allegation contained in the preceding paragraphs and further allege:

214. At all material times herein, the defendant Sheriff CHRIS PRINE owed a duty to
the Plaintiffs to act with the ordinary care of a reasonable person with respect to all aspects of
any service or treatment which a member of the public is entitled to, including but not limited to,
the competent handling of a criminal investigation, particularly in ones involving victims such as
plaintiffs. These duties include, but are not limited to: the hiring, retention, training and
supervision of all agents, employees and representatives of the defendant Sheriff CHRIS PRINE
and the Lowndes County Sheriff's Department.

215. The defendant Sheriff CHRIS PRINE also owed a duty to avoid and disassociate
himself, as well as, members of the Lowndes County Sheriff's Department from the commission
of any acts or conduct that was calculated to interfere with the lawful investigation and
prosecution of any individuals or entities who may be engaged in seeking preferential treatment
and protection from criminal prosecution.

216. At all times material herein, the defendant Sheriff CHRIS PRINE, by virtue of his

direct involvement and that of those whom he was under a duty to supervise, sought to protect
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and give preferential treatment to said Brandon Bell and Brian Bell, the aforesaid sons of FBI
Agent Rick Bell.

217. In the course of failing to provide appropriate supervision of those under his
command, the defendant Sheriff CHRIS PRINE enabled his subordinates in association with
other persons and entities to undermine a criminal investigation into the death of plaintiffs’
decedent, and in doing so, caused and continue to cause the plaintiffs to suffer severe emotional

distress and great pain and suffering.

FOURTH CAUSE OF ACTION
CONSPIRACY TO CAUSE INFLICTION OF EMOTIONAL DISTRESS

218. The Plaintiffs re-allege and incorporate herein, as if set forth in full, each and every
allegation contained in the preceding paragraphs and further allege:

219. At all times material herein, the defendant Sheriff CHRIS PRINE conspired with
and sought the cooperation of a number of individuals, including but not limited to FBI Agent
Rick Bell, School System Superintendent Wes Taylor, Lieutenant Stryde Jones, Sergeant Jack
Winningham, GBI Crime Scene Specialist Wes Horne, funeral home director Antonio
Harrington, Steve Owens of Owens Transport, and Dr. Maryanne Gaffney-Kraft, all for the
purpose of covering up the commission of criminal conduct and activities, including but not
limited to those of Brandon Bell and Brian Bell as relates to the death of plaintiff's decedent.

220. On repeated occasions, the Lowndes County Sheriff's Department has maintained
that said Brandon Bell and Brian Bell were never considered to be suspects even though their
father, FBI Agent Rick Bell, is a law enforcement officer himself and someone who is keenly

aware of the importance of conducting fair, honest and thorough investigations, nevertheless
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refused to allow his sons to be interviewed by investigators on at least two (2) or more separate
occasions.

221. In addition to the foregoing, the defendant Sheriff CHRIS PRINE’s efforts to protect
and serve the interests of fellow law enforcement, including but not limited to FBI Agent Rick
Bell, involved obtaining the assistance of persons who desecrated the remains of their son.

222. As a direct and proximate result of the Defendants’ conduct, the Plaintiffs suffered
serious mental injuries and emotional distress that no reasonable person could be expected to
endure or adequately cope with.

223. By virtue of the foregoing conduct , the defendant Sheriff CHRIS PRINE acted
intentionally, knowingly, with oppression, fraud and malice and in reckless and conscious
disregard of the rights of the Plaintiffs. The Plaintiffs are, therefore, entitled to punitive and
exemplary damages from the Defendants in such amount as shall be necessary and appropriate to
punish the Defendants and to deter them and anyone else from ever committing similar

indecencies.

FIFTH CAUSE OF ACTION
VIOLATION OF STATE CONSTITUTION GUARANTEEING EQUAL PROTECTION

224. The Plaintiffs re-allege and incorporate herein, as if set forth in full, each and every
allegation contained in the preceding paragraphs and further allege:

225. The Lowndes County Sheriff's Department, as previously alleged, has maintained
that said Brandon Bell and Brian Bell were never considered to be suspects even though their
father, FBI Agent Rick Bell refused to allow his sons to be interviewed by investigators on at

least two (2) or more separate occasions.
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226. In this regard, defendant Sheriff CHRIS PRINE violated the equal protection clause
of the Constitution for the State of Georgia by engaging in race discrimination.

227. In this regard, the Lowndes County Sheriff's Department, on the other hand, insisted
upon taking into custody for questioning an African-American male whose initials were “BB”,
the same as Brandon Bell and Brian Bell. At all times relevant here to, Brandon Bell and Brian
Bell are Caucasian.

228. In this regard, the Lowndes County Sheriffs Department, on the other hand, insisted
upon taking into custody for questioning an African-American male whose initials were “BB”,
the same as Brandon Bell and Brian Bell. At all times relevant here to, Brandon Bell and Brian
Bell are Caucasian. Plaintiffs KENNETH JOHNSON and JACQUELYN JOHNSON are
African-Americans.

229. As a direct and proximate result of the Defendants’ conduct, the Plaintiffs suffered
violation of their constitutional rights and the social stigma that no reasonable person could be
expected to endure or adequately cope with.

230. By virtue of the foregoing conduct , the defendant Sheriff CHRIS PRINE acted
intentionally, knowingly, with oppression, fraud and malice and in reckless and conscious
disregard of the rights of the Plaintiffs. The Plaintiffs are, therefore, entitled to punitive and
exemplary damages from the Defendants in such amount as shall be necessary and appropriate to
punish the Defendants and to deter them and anyone else from ever committing similar

indecencies.

TWELFTH CAUSE OF ACTION
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CONSPIRACY TO DEPRIVE PLAINTIFFS OF EQUAL PROTECTION OF THE LAWS
OR OF EQUAL PRIVILEGES AND IMMUNITIES UNDER THE LAWS
( pursuant to Title 42 U.S.C. Sees. 1983 and 1985(3)Against Chris Prine )

231. The Plaintiffs re-allege and incorporate herein, as if set forth in full, each and every
allegation contained in the preceding paragraphs and further allege:

232. At all material times, the Defendant CHRIS PRINE, as the chief policymaker for
the Sheriff's Department, owed a duty to conduct a proper criminal investigation into the death
of plaintiffs’ decedent, Kendrick Johnson, or more specifically, the misconduct of certain
individuals, including but not limited to BRANDON BELL, BRIAN BELL, and RICK BELL.

233. Defendant CHRIS PRINE sought to engage in a conspiracy to hide or cover up the
misconduct of persons responsible for the death of plaintiffs’ decedent.

234. The aforesaid conspiracy on the part of members of the Lowndes County Sheriff's
Department, including but not limited to Defendant CHRIS PRINE along with FRANK
SIMMONS, JAMES THORNTON, SHANNON SALTERS, RAY MCGRAW, JACK
WINNINGHAM, WANDA EDWARDS, STRYDE JONES, AARON PRITCHETT, LOGAN
HENDERSON, RANDY LIGHTSEY, MICHAEL ADAMS, JACK PRIDDY, KERRY QUINN,
CHRISTI GRIFFIN, BRYCE WHITENER, CHRISTOPHER BURKE, TROY BLACK,
HOWARD FISHER, MARK MASKULE, ROY HART, JOHN MARION, STEVE OWENS and
WES TAYLOR, came about for purposes of preventing the proper investigation and prosecution
of persons responsible for causing the death of plaintiffs’ decedent, Kendrick Johnson.

235. In this regard, Defendant CHRIS PRINE conspired to violate plaintiffs’ right to

equal protection of the laws or of equal privileges and immunities under the law, all of which is

actionable pursuant to Title 42 U.S.C. Sec. 1983.
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236. Defendant CHRIS PRINE, and those under his supervision within the Lowndes
County Sheriff's Department, were indifferent towards the constitutional rights of plaintiffs with
respects to the equal enforcement of law which plaintiffs were entitled to receive.

237. Defendant CHRIS PRINE’s failure to adequately train the aforesaid members of the
Lowndes County Sheriff's Department, as stated above, is a custom of such regular and long-
standing nature that it constitutes a policy.

238. Defendant CHRIS PRINE’s failure to properly supervise the aforesaid members of
the Lowndes County Sheriff's Department in a way designed to prevent the formation of
unlawful conspiracies, as stated above, is a custom of such regular and long-standing nature that
it constitutes a policy.

239. Defendant CHRIS PRINE knew or should of known that members of the Lowndes
County Sheriff's Department were not being properly supervised nor trained in the proper
handling of a criminal investigation.

240. Defendant CHRIS PRINE failed to establish policies regarding the lawful and
proper method of conducting criminal investigations.

241. Defendant CHRIS PRINE, by virtue of his own direct involvement in the
mishandling of the investigation into the death of Kendrick Johnson, established a policy that
members of the Lowndes County Sheriff's Department were guided by and carried out his
example as “departmental policy.”

242. Defendant CHRIS PRINE knew or should have known that the failure to establish
policies on the proper manner in which to conduct criminal investigations, as well as, by his own

example, would result in a depravation of plaintiffs’ constitutional rights.
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243. Defendant CHRIS PRINE’s failure to establish policies on the proper manner in
which to conduct criminal investigations was the “moving force” of the ddeprivation of
plaintiffs’ 14th Amendment rights to equal protection and due process under the United States
Constitution.

244. When Defendant CHRIS PRINE allowed the investigation into the death of
Kendrick Johnson to be thwarted, mishandled and misdirected for purposes of protecting the
persons responsible for Kendrick Johnson’s death, he deprived plaintiffs of rights, privileges and
immunities secured by the Constitution and the laws of the United States.

245. When Defendant CHRIS PRINE ordered or directed that the investigation into the
death of Kendrick Johnson to be thwarted, mishandled and misdirected for purposes of
protecting the persons responsible for Kendrick Johnson’s death, he deprived plaintiffs of rights,
privileges and immunities secured by the Constitution and the laws of the United States.

246. When Defendant CHRIS PRINE conspired with others so that the investigation into
the death of Kendrick Johnson would be thwarted, mishandled and misdirected for purposes of
protecting the persons responsible for Kendrick Johnson’s death, he deprived plaintiffs of rights,
privileges and immunities secured by the Constitution and the laws of the United States.

247. As aresult of Defendant CHRIS PRINE’s foregoing misconduct, plaintiffs’ rights
under the United States Constitution were violated and resulted in emotional and psychological

injuries, as well as a denial of access to the courts.

THIRTEENTH CAUSE OF ACTION
CONSPIRACY TO DEPRIVE PLAINTIFFS OF EQUAL PROTECTION OF THE
LAWS OR OF EQUAL PRIVILEGES AND IMMUNITIES UNDER THE LAWS
( pursuant to Title 42 U.S.C. Secs. 1983 and 1985(3))
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The Plaintiffs re-allege and incorporate herein, as if set forth in full, each and every
allegation contained in the preceding paragraphs and further allege:

248. Defendant CHRIS PRINE, and those under his supervision within the Lowndes
County Sheriff's Department, were indifferent towards the constitutional rights of plaintiffs with
respects to the equal enforcement of law which plaintiffs were entitled to receive.

249. Defendant CHRIS PRINE’s failure to adequately train the aforesaid members of the
Lowndes County Sheriff's Department, as stated above, is a custom of such regular and long-
standing nature that it constitutes a policy.

250. Defendant CHRIS PRINE’s failure to properly supervise the aforesaid members of
the Lowndes County Sheriff’s Department in a way designed to prevent the formation of
unlawful conspiracies, as stated above, is a custom of such regular and long-standing nature that
it constitutes a policy.

251. Defendant CHRIS PRINE knew or should of known that members of the Lowndes
County Sheriff's Department were not being properly supervised nor trained in the proper
handling of a criminal investigation.

252. Defendant CHRIS PRINE failed to establish policies regarding the lawful and
proper method of conducting criminal investigations.

253. Defendant CHRIS PRINE, by virtue of his own direct involvement in the
mishandling of the investigation into the death of Kendrick Johnson, established a policy that
members of the Lowndes County Sheriff's Department were guided by and carried out his

example as “departmental policy.”
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254. Defendant CHRIS PRINE knew or should have known that the failure to establish
policies on the proper manner in which to conduct criminal investigations, as well as, by his own
example, would result in a depravation of plaintiffs’ constitutional rights.

255. Defendant CHRIS PRINE’s failure to establish policies on the proper manner in
which to conduct criminal investigations was the “moving force” of the deprivation of
plaintiffs’ 14th Amendment rights to equal protection and due process under the United States
Constitution.

256. The unlawful and conspiratorial involvement of FRANK SIMMONS, JAMES
THORNTON, SHANNON SALTERS, RAY MCGRAW, JACK WINNINGHAM, WANDA
EDWARDS, STRYDE JONES, AARON PRITCHETT, LOGAN HENDERSON, RANDY
LIGHTSEY, MICHAEL ADAMS, JACK PRIDDY, KERRY QUINN, CHRISTI GRIFFIN,
BRYCE WHITENER, CHRISTOPHER BURKE, TROY BLACK, HOWARD FISHER, MARK
MASKULE, ROY HART, JOHN MARION, STEVE OWENS and WES TAYLOR, in their
effort to cover up the involvement of persons responsible for the death of Kendrick Johnson, was
the result of Defendant CHRIS PRINE’s and the Lowndes County Sheriff's Department’s policy
and/or custom of generally failing to properly and adequately train those within is and its employ
on the proper methods of conducting criminal investigations.

257. Defendant CHRIS PRINE’s failure to establish policies for the proper and lawful
investigation of crimes and other such instances resulted in injuries suffered by plaintiffs, and as
a consequence, FRANK SIMMONS, JAMES THORNTON, SHANNON SALTERS, RAY
MCGRAW, JACK WINNINGHAM, WANDA EDWARDS, STRYDE JONES, AARON

PRITCHETT, LOGAN HENDERSON, RANDY LIGHTSEY, MICHAEL ADAMS, JACK
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PRIDDY, KERRY QUINN, CHRISTI GRIFFIN, BRYCE WHITENER, CHRISTOPHER
BURKE, TROY BLACK, HOWARD FISHER, MARK MASKULE, ROY HART, and JOHN

MARION are liable in Respondent Superior.

14TH CAUSE OF ACTION
(Claim for Wrongful Death as Against All Defendants)

258. Plaintiffs reallege and incorporate as if set forth fully verbatim herein, the
allegations of paragraphs 1 through 57 of the Complaint.

259. On or about January 10, 2013, Defendants failed to properly supervise members of
the staff at Lowndes High School, who in turn were responsible for supervising students at said
high school, including but not limited to Brandon Bell and Brian Bell, and in doing so, failed to
protect Kendrick Lamar Johnson from a physical assault and other related risks of harm.

260. As a direct and proximal result of defendants’ aforesaid failure, Kendrick Lamar
Johnson was violently assaulted, severely injured, and died at some time between January 10,
2013 and January 11, 2013.

261. Defendants’ failure to protect Kendrick Lamar Johnson from foreseeable acts of
violence and injuries by ensuring that the staff at said high school were properly trained on how
to supervise students is ministerial and mandated by law. As such, each Defendant in the
foregoing regard exhibited reckless and grossly and wantonly negligent misconduct, and are

therefore liable to Plaintiffs in and I now
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15™ CAUSE OF ACTION
Claim for Wrongful Death as Against Defendants Wes Taylor and Jay Floyd)

262. Plaintiffs reallege and incorporate as if set forth fully verbatim herein, the
allegations of paragraphs | through 57 of the Complaint.

263. On or about January 10, 2013, the video surveillance system at Lowndes High
School was malfunctioning in that it would not permit members of the staff to observe Kendrick
Lamar
Johnson’s movements while in said high school’s “old gym.

264. Upon information and belief, Plaintiffs contend that the aforesaid surveillance
system had been malfunctioning for an extensive period of time prior to January 10, 2013, and
that despite the obvious need for repair of same, Defendants WES TAYLOR and JAY FLOYD
either deliberately or negligently failed to get the aforesaid surveillance system repaired.

265. As a direct and proximal result of defendants’ aforesaid failure, Kendrick Lamar
Johnson was stranded upside down in a rolled up gym mat, and as a result of being unable to free
himself, died at some time on or about January 10, 2013 or January 11, 2013.

266. Defendants’ failure to arrange for the repair of said surveillance system is a
ministerial and mandated by the Defendant Lowndes County School District’s rules, regulations
and standard operating procedures. As such, Defendants WES TAYLOR and JAY FLOYD
exhibited reckless disregard for the safety of Kendrick Lamar Johnson, and thereby
demonstrated grossly and wantonly negligent misconduct. As such, Defendants WES TAYLOR

and JAY FLOYD are liable to Plaintiffs for the wrongful death of Kendrick Lamar Johnson.
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16™ CAUSE OF ACTION
Claim for Intentional Infliction of Emotional Distress as Against Defendants Wes Taylor
and Jay Floyd pursuant to Title 42 U.S.C. ''1983 and 1985(3))

267. The Plaintiffs re-allege and incorporate herein, as if set forth in full, each and every
allegation contained in the preceding paragraphs and further allege:

268. The Defendants JAY FLOYD and each of the defendant board members for the
Defendant LOWNDES COUNTY SCHOOL DISTRICT engaged in a conspiracy to cover up the
misconduct of certain individuals, including but not limited to defendants Brandon Bell, Brian
Bell, and Rick Bell, and as a consequence, was directed toward the Plaintiffs, as described
herein. As such, said defendants’ conduct was intentional, unlawful, and malicious. It is so
outrageous that it is not tolerated by civilized society.

269. As a direct and proximate result of said Defendants’ conduct, the Plaintiffs suffered
serious mental injuries and emotional distress that no reasonable person could be expected to
endure or adequately cope with.

270. In their conduct, said Defendants acted intentionally, knowingly, with oppression,
fraud and malice and in reckless and conscious disregard of the rights of the Plaintiffs. The
Plaintiffs are, therefore, entitled to punitive and exemplary damages from each of the Defendants
in such amount as shall be necessary and appropriate to punish the Defendants and to deter them

and anyone else from ever committing similar indecencies and acts of corruption.
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17" C AUSE OF ACTION
(Claim for Negligent Infliction of Emotional Distress as Against All Defendants)

271. Plaintiffs incorporate the allegations contained in the preceding paragraphs 1-70 as
if fully set forth herein.

272. The aforementioned acts, omissions and conduct of the Defendants were extreme,
outrageous, malicious or with the total disregard or deliberate indifference to the constitutional
and civil rights of the Plaintiffs and therefore, the Defendant was aware, knew or should have
known that its acts, omissions and conduct would cause Plaintiffs extreme and severe emotional
distress.

273. To the extent that the Defendants knew or should have known of the conduct that
Kendrick Lamar Johnson was being subjected to, including, bullying, discrimination, and
harassment, Defendants had a duty to Plaintiffs and/or owed Plaintiffs a duty to intervene so as
to prevent further harassing conduct and the assault on Kendrick Lamar Johnson and therefore,
the acts to Plaintiffs and injuries to Plaintiffs were foreseeable.

274. That Defendants breached its duty owed Plaintiffs by failing to intervene so as to
prevent further harassment by students and said breach resulted in continued harassment,
emotional and psychological harm to Plaintiffs and the ultimate physical assault and impact to
Kendrick Lamar Johnson. To this end, the defendant Lowndes County School District is liable

for infliction of emotional distress caused by its negligence in the foregoing regard.
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18™ CAUSE OF ACTION
Claim for Negligence as Against All Defendants)

275. Plaintiffs incorporate the allegations contained in the preceding paragraphs 1-74 as
if fully set forth herein._

276. Inasmuch as Kendrick Lamar Johnson was in the care of the staff and administrators
at Lowndes High School, Defendants had a duty of care to protect him from being harassed,
discriminated and bullied by other students and staff alike. Likewise, the Defendants are
responsible for supervising, disciplining, controlling and protecting children in its control,
custody, possession and care, which it failed to do.

277. The Defendants breached their duty to Plaintiffs by failing to adequately implement
policies, procedures, guidelines, training, supervision or instructions to its employees and
students at LOWNDES HIGH SCHOOL so as to prevent bullying harassment of students.

278. As a direct and proximate result of the actions and omissions of the Defendants,
including Defendants’ prior knowledge of problems and complaints as registered by Plaintiff
JACQUELYN JOHNSON, coupled with the Defendants’ failure to exercise appropriate remedial
measures, led to the continued harassment and ultimate death of Kendrick Lamar Johnson. The
aforementioned injuries suffered by Kendrick Lamar Johnson were foreseeable, and therefore

cause Defendants to become liable.”
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19" Cause of Action
Claims Brought on Behalf of the Decedent’s Estate
267. The Plaintiffs re-allege and incorporate herein, as if set forth in full, each and every
allegation contained in the preceding paragraphs and further allege:

268. At all times material to this Complaint, Defendant LOWNDES COUNTY
SCHOOL DISTRICT acted through its agents, employees, teachers, administrators, staff and
representatives, including but not limited to Defendants FRED WETHERINGTON, WES
TAYLOR and JAY FLOYD, each of whom were acting under color of state statutes, ordinances,
regulations, customs and usages of the State of Georgia and, in their actions and appearances,
pursuant to the scope of their authority.

269. At all times material to this Complaint, KENDRICK LAMAR JOHNSON was a
seventeen (17) year old male child who was in the tenth (10") grade and attending Lowndes
High School located in Valdosta, Georgia. All conditions precedent to the filing of this
Complaint have occurred, been satisfied, or been waived in that written notice has been
previously provided to the Defendants.

Facts Common to All Remaing Counts

270. During the school year of 2012 — 2013, KENDRICK LAMAR JOHNSON, an
African-American student, was attending Lowndes High School in Valdosta, Lowndes County,
Georgia. To this end, there existed a “special relationship” between the KENDRICK LAMAR
JOHNSON and the Defendants LOWNDES COUNTY SCHOOL DISTRICT, WES TAYLOR

and JAY FLOY owed or had a duty to properly supervise the activities of all students who
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were attending Lowndes High School and to protect KENDRICK LAMAR JOHNSON, who was
in its care on or about January 10, 2013.

271. Approximately one (1) year before the aforesaid incident of January 10, 2013,
Defendant LOWNDES COUNTY SCHOOL DISTRICT, through its agents, employees,
teachers, administrators, staff or representatives were on notice that KENDRICK LAMAR
JOHNSON had been senselessly assaulted by another student who also attended Lowndes High
School. In this regard, Plaintiff's representative, Plaintiff JACQUELYN JOHNSON,
complained to administrative personnel of the Defendant LOWNDES COUNTY SCHOOL
DISTRICT that her son, KENDRICK LAMAR JOHNSON, had reported to her that while on a
school bus that had traveled to another school for an athletic competition that was sanctioned and
arranged by Defendant LOWNDES COUNTY SCHOOL DISTRICT, he had been victimized by
Brian Bell, a fellow student at Lowndes High School and teammate on the high school’s
football team. Plaintiff JACQUELYN JOHNSON also indicated to said administrative
personnel and school officials at Defendants’ Lowndes High School that, according to her son,
he was improperly accused and blamed for instigating the aforesaid fight on the school bus.
Accordingly, Plaintiff JACQUELYN JOHNSON requested that the aforesaid said administrative
personnel and school officials at Lowndes High School allow her to watch the video recording
from the school bus’s surveillance system, but despite her right to do so, said request was
summarily denied by representatives of the Defendant LOWNDES COUNTY SCHOOL

DISTRICT.
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272. In connection with and following Plaintiff JACQUELYN JOHNSON’ lodging of
the foregoing complaint, KENDRICK LAMAR JOHNSON was subjected to undeserved
punishment, humiliation and various forms of mistreatment by members of the coaching staff
of the Lowndes High School football program.

273. Upon information and belief, the aforesaid dispute between Brian Beil and
KENDRICK LAMAR JOHNSON was not properly investigated nor handled in an appropriate
manner, and as a consequence, was allowed to remain unsettled and unresolved, all of which
was known to or should have been known to officials and personnel employed by Defendant
LOWNDES COUNTY SCHOOL DISTRICT. Moreover, upon information and belief,
KENDRICK LAMAR JOHNSON reported to plaintiffs that subsequent to the aforesaid dispute
between he and Brian Bell, Brandon Bell, older brother to Brian Bell and also a student at said
Lowndes High School , confronted him (KENDRICK LAMAR JOHNSON) and stated to him
that, “it ain’t over.”

274. In connection with the aforementioned dispute and resulting mistreatment of
KENDRICK LAMAR JOHNSON, Defendants thereafter failed to properly supervise and protect
said Plaintiff from further mistreatment and harassment, including, but not limited to, other
assaults and fatal injuries. Upon information and belief, Defendant SCHOOL DISTRICT s’
failure to properly supervise its student population included its failure to properly monitor the
activities of students throughout all areas of the Lowndes High School campus, including but not

limited to locker rooms and utility closets, as well as its failure to maintain a
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properly functioning video surveillance system.

275. Defendant SCHOOL DISTRICT violated KENDRICK LAMAR JOHNSON’s
right to be free of mistreatment and harassment, whether at the hands of fellow students or
school personnel. Defendants LOWNDES COUNTY SCHOOL DISTRICT, WES TAYLOR and
JAY FLOY violated the aforesaid right by condoning certain practices, policies and procedures
that have resulted in the inadequate training of teachers, coaching staff and administrators on
how to properly monitor and supervise students, protect them from assaults or the harassment of
other students, as well as, investigate any such instances whenever they occur.

276 . As a direct and proximal result of having a custom of failing to properly train
its teachers, coaching staff and administrators on how to properly monitor and supervise
students, protect them from assaults or the harassment of other students, and investigate any
such instances whenever they occur, such failures by Defendants LOWNDES COUNTY
SCHOOL DISTRICT, WES TAYLOR and JAY FLOY were intentional or, at best, negligent
and done with complete, reckless and callous disregard for the rights and privileges of
KENDRICK LAMAR JOHNSON.

277. That as a direct and proximate result of Defendants LOWNDES COUNTY
SCHOOL DISTRICT, WES TAYLOR and JAY FLOY’s aforesaid actions and omissions, on or
about January 10, 2013, KENDRICK LAMAR JOHNSON was violently assaulted, severely
injured, suffered great physical pain and mental anguish, and subjected to insult and loss of life,

all of which took place at the hands of one (1) or more students while upon the property of
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Lowndes High School and during its normal hours of operation.

20th cause of action
Against All Defendants for Negligent Training and Supervision

Plaintiffs incorporate the allegations contained in the preceding paragraphs1-16

as if fully set forth herein.

278 . At all times mentioned herein, Defendants LOWNDES COUNTY
SCHOOL DISTRICT, WES TAYLOR and JAY FLOY recruited, hired, instructed, trained,
employed, supervised and retained the teachers, administrators and faculty members to
supervise, discipline, control and protect children in its control, custody, possession and care.

279. As KENDRICK LAMAR JOHNSON was in the care of Defendants,
said Defendants LOWNDES COUNTY SCHOOL DISTRICT, WES TAYLOR and JAY FLOY
had a duty of care to protect KENDRICK LAMAR JOHNSON, from assaults and harassment,
including but not limited to “bullying” by other students. In the foregoing regard, said
Defendants LOWNDES COUNTY SCHOOL DISTRICT, WES TAYLOR and JAY FLOY
breached its duty to the students of Lowndes High School in general and specifically to
KENDRICK LAMAR JOHNSON, by failing to adequately perform the activities cited in
preceding paragraphs, more particularly by failing to implement policies, procedures, training
and supervision to faculty members and administrators, regarding investigating, remedying and

prohibiting harassment and assaultive behavior on the part of students. Said policies or customs,
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or lack thereof, amounted to and reflected said Defendant’s deliberate indifference to the rights
of KENDRICK LAMAR JOHNSON.

280. As a direct and proximate result of the acts and omissions of the
Defendants LOWNDES COUNTY SCHOOL DISTRICT, WES TAYLOR and JAY FLOY ,
including said defendants’ knowledge of prior complaints by one (1) or more parents of
KENDRICK LAMAR JOHNSON, said Defendant caused, encouraged or precipitated the
ultimate assault of KENDRICK LAMAR JOHNSON on or about January 10, 2013. The acts
against and injuries to KENDRICK LAMAR JOHNSON were foreseeable and hence the
Defendants LOWNDES COUNTY SCHOOL DISTRICT, WES TAYLOR and JAY FLOY
were negligent and are therefore liable to the Estate of KENDRICK LAMAR JOHNSON for

injuries he sustained.

21st cause of action -
Against All Defendants for Negligent Infliction of Emotional Distress

Plaintiffs incorporate the allegations contained in the preceding paragraphs of 1-
19 as if fully set forth herein.

281. The aforementioned acts, omissions and conduct of the Defendants
LOWNDES COUNTY SCHOOL DISTRICT, WES TAYLOR and JAY FLOY were extreme,
outrageous, malicious or with the total disregard or deliberate indifference to the rights of the

KENDRICK LAMAR JOHNSON and therefore, said Defendants were aware, knew or should
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have known that its acts, omissions and conduct would cause Plaintiff extreme and severe
emotional distress.

282 . Upon information and belief, Defendants LOWNDES COUNTY
SCHOOL DISTRICT, WES TAYLOR and JAY FLOY knew or should have known of the
conduct that KENDRICK LAMAR JOHNSON and other students were being subjected to in and
about the premises of, including, fighting, bullying, and harassment, said Defendants had a duty
to protect KENDRICK LAMAR JOHNSON and/or owed a him a duty to properly monitor and
supervise all of its students and, whenever necessary, to promptly intervene so as to prevent
injury to any student, including but not limited to KENDRICK LAMAR JOHNSON.
Accordingly, the assault upon KENDRICK LAMAR JOHNSON and the injuries he sustained
and experienced were foreseeable and the proximate result of said Defendants LOWNDES
COUNTY SCHOOL DISTRICT, WES TAYLOR and JAY FLOY having breached its duty to
KENDRICK LAMAR JOHNSON by failing to adequately implement policies, procedures,
guidelines, training, supervision or instructions to its employees and students attending Lowndes
High School.

283. Asadirect and proximate result of the aforesaid outrageous acts and
physical injuries suffered by KENDRICK LAMAR JOHNSON, he is entitled to recover for the

emotional distress that he was forced to endure.

21st cause of action
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Against All Defendants for Funeral Expenses

Plaintiffs incorporate the allegations contained in the preceding paragraphs of 1-
22 as if fully set forth herein.

284. The aforementioned acts, omissions and conduct of the Defendants
LOWNDES COUNTY SCHOOL DISTRICT, WES TAYLOR and JAY FLOY were the direct
and proximate cause leading to the death of KENDRICK LAMAR JOHNSON on or about
January 10, 2013. As a direct consequence of this child’s death, the Estate of KENDRICK
LAMAR JOHNSON is entitled to recover any and all amounts incurred in the way of the funeral
expenses that were surrounding and connected to his burial.

285. Asaconsequence of the aforementioned death, Plaintiffs KENNETH JOHNSON
and JACQUELYN JOHNSON contracted with Harrington’s Funeral Home located in Valdosta,
Georgia for purposes of arranging and providing all of the services and materials that were
needed to accomplish a proper burial and “going home” ceremony for their son, KENDRICK
LAMAR JOHNSON.

286. The amount charged by Harrington’s Funeral Home exceeds Five Thousand
Dollars ($5,000.00), the exact amount of which shall be proven at the time of trial.

PRAYER FOR RELIEF

WHEREFORE, the Plaintiffs request the following relief:

a. An award of compensatory damages for each Plaintiff, in an amount deemed
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appropriate by the enlightened conscience of the trier of fact, jointly and severally,
against the Defendants;
b. An award of punitive damages, jointly and severally, against the Defendants;
c. An award of pre-judgment and post-judgment interest;
d. An award of costs, including, but not limited to, discretionary costs, attorneys’ fees
and expenses incurred in pursuing this case;
e. A order directing Defendant MARYANNE GAFFNEY-KRAFT to make arrangements
for the examination of the tissue specimens collected by Dr. William Anderson
f. Any other and further relief this Court deems just and proper; and

g. Any other and further relief to which they may be entitled.

This [7] day of Ay. Cet 5 2016

THE C. B. KING LAW FIRM

BY: { 7 5 .
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Attomey for Plaintiffs

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